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                   UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS

CHRIS WATKINS, ERIC DAY,
GLOBAL LEASE GROUP INC.,
PRUDHVI SAMUDRALA, WILLIAM
WILSON, KAREN KYUTUKYAN,
RAJEEV TALREJA, GIORGIO               CASE NO. 1:24-cv-11384-PBS
PETRUZZIELLO, DREW TALREJA,
KRIS NATHAN, EDUARD
CHENETTE, WALID YASSIR, and
VARSHA LUTHRA on behalf of
themselves and all others similarly
situated,

                  Plaintiffs,
      v.

ELON R. MUSK, individually and in
his capacity as Trustee of the ELON
MUSK REVOCABLE TRUST DATED
JULY 22, 2003,

                  Defendants.




             FIRST AMENDED CLASS ACTION COMPLAINT
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       Plaintiffs Chris Watkins, Eric Day, Global Lease Group Inc., Prudhvi Samudrala,

William Wilson, Karen Kyutukyan, Rajeev Talreja, Giorgio Petruzziello, Drew Talreja, Kris

Nathan, Eduard Chenette, Walid Yassir, and Varsha Luthra bring this action on behalf of

themselves and all others similarly situated against Elon R. Musk, in his individual capacity

and as Trustee of the Elon Musk Revocable Trust Dated July 22, 2003.

                         I.     BRIEF SUMMARY OF THE CASE

       1.      This is a class action brought by consumers who were swindled out of billions

of dollars (at least tens of thousands each) by the world’s richest person, Elon Musk, in

connection with the advertising and sale of Tesla electric vehicles. The basis of their claims

is that Musk falsely represented Tesla driving ranges, concealed from consumers other key

facts about vehicle driving ranges, took steps to manipulate vehicles’ dashboard range meters

to display false driving ranges, and then, to further avoid accountability, diverted consumer

complaints to avoid accountability. And he used his near-total control of Tesla to cause it to

commit the same misconduct.

       2.      Because of the critical importance of range to EV purchasers, this scheme

allowed Musk to sell millions of vehicles at inflated prices, dominate the electric vehicle

market, crush competition, and personally accumulate hundreds of billions of dollars for

himself and his trust. By personally devising, directing, and controlling this fraudulent

scheme, Musk ensured that the benefits of this deception flowed directly to him, rather than

simply benefiting Tesla as a company. This was not a matter of corporate policy gone awry,

but a deliberate, calculated effort by Musk to enrich himself at the expense of consumers and

in breach of his duties to Tesla.




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       3.     Musk’s conduct violated a litany of unfair and deceptive trade practice laws, all

of which provide for personal liability because Musk personally formulated, directed,

implemented, controlled, and instructed the fraudulent scheme. See, e.g., S. Shore Hellenic

Church, Inc. v. Artech Church Interiors, Inc., 183 F. Supp. 3d 197, 222 (D. Mass. 2016) (“[a]n

officer of a corporation can be a proper defendant for purposes of” the Massachusetts Unfair

Trade Practices Act where he or she has “knowledge of unlawful acts or actual participation

in acts made unlawful by” the Act); see also York Marine, Inc. v. M/V Intrepid, 2016 WL

5372762, at *11 (D. Me. 2016); Ne. Lumber Mfrs. Assoc. v. N. States Pallet Co., 710 F. Supp. 2d

179, 187–88 (D.N.H. 2010); KC Leisure, Inc. v. Haber, 972 So. 2d 1069, 1074 (Fla. 5th DCA

2008); Allen v. V & A Bros., 26 A.3d 430, 441 (N.J. 2011); Fed. Trade Comm’n by James v. Quincy

Bioscience Holding, 389 F. Supp. 3d 211, 220 (S.D.N.Y. 2019).

       4.     These facts are not in dispute: As Musk admitted to a government regulator, he

“engag[ed] in false, exaggerated, and deceptive advertising activities in manufacturing,

importing, and selling our electric vehicles.” And because Musk perpetrated this fraud to

enrich his revocable trust for which he is the sole trustee, defendant Elon Musk Revocable

Trust dated July 22, 2003 is liable too. By targeting Musk and his trust, this lawsuit aims to

hold him accountable for the billions he unjustly accumulated at consumers’ expense.

                    II.    INTRODUCTION AND BACKGROUND

       5.     Driving range is a critical, material factor in a consumer’s decision to buy an

EV. The longer a vehicle can travel, the more attractive it is to potential customers, who pay

a premium for longer driving distances. That’s because the main drawback to driving an EV

is recharging, which takes substantially longer than filling up a gas tank.         There are

substantially fewer EV charging locations than gas stations, and charging stations are entirely



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lacking in certain areas. Thus, most consumers won’t even consider buying an EV if it can’t

drive more than 300 miles on a single charge.1 But most, if not all, Teslas could not achieve

that level of range in real-world driving conditions.

       6.     Musk had a fix to this dilemma: Lying. Year after year, he overstated the

ranges that Tesla vehicles can drive by an average of 26% or more, often describing the false

ranges as “actual true-usable range” or “actual range” without referring to an EPA estimate

or any estimate at all. His personal Twitter account, which is the most followed in the world

with 195.4 million followers as of the date of this Complaint, became the most powerful tool

in shaping consumer sentiment towards Tesla. Musk leveraged his enormous personal

presence and influence, not just as the CEO of Tesla but as a global public figure, to propagate

these false claims. This made Tesla vehicles vastly more attractive than they otherwise would

have been and opened a market of consumers who otherwise wouldn’t have considered

buying an EV.

       7.     Musk did not stop at merely overstating Tesla’s driving ranges personally; he

actively ordered Tesla to disseminate these falsehoods through various channels as well. As

the CEO and the largest shareholder of Tesla, Musk wields unprecedented power over the

company, a level of control that has drawn increasing scrutiny from prominent senators, other

courts, Tesla board members, and shareholders alike. These parties have questioned whether

Musk is putting personal gain over fulfilling his fiduciary duties to the company and its

shareholders. Regardless of his unprecedented power, Musk exceeded his authority as CEO

and utilized his near total control of Tesla to disseminate the same lies to potential customers


1
 Tom Randall, US Electric Cars Set Record With Almost 300-Mile Average Range,
BLOOMBERG (Mar. 9, 2023), https://www.bloomberg.com/news/articles/2023-03-
09/average-range-for-us-electric-cars-reached-a-record-291-miles.


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through various mediums. By doing so, he ensured that misinformation about range was

deeply embedded in the public’s perception of Tesla vehicles.

       8.     Musk, and Tesla at Musk’s direction, consistently made overly inflated driving

range claims that were not EPA estimates.          These exaggerated representations were

deliberately crafted to entice consumers by promising unparalleled performance, often

suggesting that Tesla vehicles could achieve far greater ranges than what was realistically

possible. This strategy was designed to attract potential buyers who were seeking vehicles

capable of long-distance travel, thereby creating a significant gap between the vehicles’

perceived and actual capabilities.

       9.     Even when Tesla’s website referenced EPA estimates, these figures were

coupled with misleading additional misrepresentations or omissions to consumers that falsely

indicated Tesla vehicles could achieve driving range in real-world conditions far beyond their

actual capabilities. Regardless of whether EPA estimates were used, Musk manipulated the

presentation of driving ranges, concealing key facts that would have revealed the true, more

limited capabilities of the vehicles. This deliberate concealment ensured that consumers were

misled about the actual performance of Tesla vehicles, further embedding the misinformation

into the public’s perception.

       10.    And for Musk’s scheme to be truly effective, he couldn’t stop there. Dashboard

range meters needed to reflect the misrepresented driving ranges too. Otherwise, purchasers

would demand refunds as soon as they turned on their cars and saw that actual ranges were

far less than promised. “The directive to present the optimistic range estimates” in the cars

themselves thus “came from Tesla Chief Executive Elon Musk.”             Steve Stecklow and

Norihiko Shirouzu, Tesla Created Secret Team to Suppress Thousands of Driving Range Complaints,




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REUTERS, July 24, 2023, https://www.reuters.com/investigates/special-report/tesla-

batteries-range/. “Elon wanted to show good range numbers when fully charged.” Id. The

reason? It helps sell more cars: “When you buy a car off the lot seeing 350-mile, 400-mile

range, it makes you feel good.” Id.

       11.     Consequently, Musk took steps to rig the algorithm for the vehicles’ dashboard

range meters so they would display false drivable ranges. So, for example, the range meter of

a fully charged Tesla would indicate 300 miles of drivable range, when in fact the actual range

was around 200.

       12.     In sum, Musk duped unsuspecting consumers into buying vehicles that would

not drive nearly as far as claimed and made sure consumers would not readily realize this fact

by depriving them of accurate range meters, leaving owners to guess how far they could drive

their cars. The combined effect of the misrepresentations and omissions about Tesla’s driving

range in real-world conditions that Musk perpetrated year, after year, after year would deceive

any reasonable consumer.

       13.     Musk employed these schemes to enrich himself—and his revocable trust—by

making Tesla the preeminent EV manufacturer—and Musk the richest man in the world.

Musk did this largely because his CEO compensation package, which is the largest in history,

is directly tied to increasing Tesla sales.

       14.     As a uniquely powerful founding CEO who also owns more of the company

than anyone else, Musk used his position of power and the shares his trust owns to manipulate

Tesla, including its management, employees, and stakeholders, as part of his fraudulent

scheme to enrich himself and the defendant entities that he controls and benefits from. In

doing so, Musk acted beyond the scope of his authority at Tesla, breached his fiduciary duties




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to the company and its public shareholders, and violated consumers’ common law and

statutory rights to not be deceived when making purchasing decisions. Musk is liable for all

this misconduct in his personal capacity.

       15.    Musk’s fraudulent scheme to overstate driving ranges and manipulate the range

meters to personally enrich himself and his personal entities proved wildly successful. In

2022, Tesla sold 1.31 million EVs—more than half of all EVs sold in the United States. And

four of the six best-selling EVs in the United States are Tesla models. Through his deceptive

conduct, Musk tricked consumers into believing that Tesla models can drive significantly

farther than any of its competitors, making Musk billions. Had customers known the cars

could only drive far less than the distances claimed and that the range meters were rigged to

state inflated numbers, they either would not have purchased Teslas or would not have paid

as much for them, and Musk would have missed out on a fortune.

       16.    Tesla has been inundated with customer complaints about vehicle driving

ranges, and media reports have cited whistleblowers alleging that Musk lied about drivable

ranges on Tesla models. Multiple government bodies, including the Department of Justice

and the South Korean Fair Trade Commission, have launched investigations into these and

other false statements by Musk and Tesla. In response, in January 2024, Tesla reduced the

vehicle ranges advertised on its website, confirming that earlier representations about those

ranges were false.

       17.    These revelations have marred Tesla’s reputation and the market value of Tesla

models has plummeted by tens of thousands of dollars, further injuring owners and proving

false Musk’s promise that the cars would actually increase in value over time. Because these

revelations also caused a significant drop in Tesla vehicle sales, Musk responded by slashing




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prices on Tesla vehicles, further injuring anyone who previously purchased a Tesla—and

confirming that the vehicles he falsely represented were worth substantially less than what

consumers paid for them.

                                      III.    PARTIES

        12.    Plaintiff Chris Watkins is a resident of Massachusetts who purchased a Tesla

in 2020.

        13.    Plaintiff Eric Day is a resident of Massachusetts who purchased a Tesla in 2021.

        14.    Plaintiff Global Lease Group Inc. is a Massachusetts company that purchased

a Tesla in 2022.

        15.    Plaintiff Giorgio Petruzziello is a resident of New Hampshire who purchased

a Tesla in 2022.

        16.    Plaintiff Prudhvi Samudrala is a resident of Illinois who purchased a Tesla in

2021.

        17.    Plaintiff William Wilson is a resident of Florida who purchased a Tesla in 2021.

        18.    Plaintiff Karen Kyutukyan is a resident of California who purchased a Tesla in

2021.

        19.    Plaintiff Rajeev Talreja is a resident of New York who purchased a Tesla in

New York in 2020 and in Florida in 2023.

        20.    Plaintiff Drew Talreja is a resident of Kentucky who purchased a Tesla in 2022.

        21.    Plaintiff Kris Nathan is a resident of New Jersey who purchased a Tesla in

2023.

        22.    Plaintiff Eduard Chenette is a resident of Maine who purchased Teslas in 2019,

2021, and 2024.




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         23.   Plaintiff Walid Yassir is a resident of Michigan who purchased a Tesla in 2018.

         24.   Plaintiff Varsha Luthra is a resident of Pennsylvania who purchased a Tesla

with her husband in 2023.

         25.   Defendant Elon Musk is a Texas citizen who resides in Boca Chica, Texas.

Musk is Chief Executive Officer of Tesla and has used the company to defraud consumers,

harming Massachusetts, New Hampshire, Maine, Washington, New Jersey, New York,

Illinois, Pennsylvania, California, Kentucky, Michigan, and Florida residents who purchased

Tesla vehicles.

         26.   Musk is the sole trustee of, and controls, the “Elon Musk Revocable Trust dated

July 22, 2003” (the “Musk Trust”). According to Musk’s Schedule 13D filed on February 14,

2024, Musk’s 20.5% ownership share of Tesla is held by the Musk Trust.

                            IV.    JURISDICTION AND VENUE

         27.   The Court has original jurisdiction of this action pursuant to the Class Action

Fairness Act, 28 U.S.C. § 1332(d), because there are more than 100 class members, a member

of the Plaintiff Class is a citizen of a different from Defendants’ home states, and the aggregate

amount in controversy exceeds five million dollars ($5,000,000.00), exclusive of interest and

costs.

         28.   Venue is proper in the District of Massachusetts pursuant to 28 U.S.C.

§ 1391(b) because events giving rise to these claims occurred in this District. Specifically,

Musk used his global platform, Tesla, and the shares held by his trust to defraud

Massachusetts consumers by lying about vehicle driving ranges and manipulating the range

meters on those vehicles.




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       29.     The Court has specific personal jurisdiction over Musk because Musk’s and his

trust’s unlawful conduct were directed to and were intended to deceive Massachusetts

consumers. Massachusetts is one of the biggest markets for Tesla. Musk therefore knew that

lying about how far Tesla vehicles can drive and manipulating vehicle range meters

accordingly (and using his trust’s massive Tesla share ownership to do so) would injure

Massachusetts consumers and greatly enrich himself and the Musk Trust.

                            V.     FACTUAL ALLEGATIONS

       A.      Musk Seized Power at Tesla to Manipulate It and Enrich Himself and His Trust

       30.     Tesla was founded in 2003. By 2008, Musk became its CEO after allegedly

forcing out the two original founders.2 Musk has been the single largest shareholder of Tesla

since he first invested in it during the company’s 2004 Series A funding round. His ownership

share has grown since then. As of 2024, Musk owns and controls (through his trust)

approximately 20.5% of the company’s stock—far more than anyone else, including massive

institutional investors.

       31.     Musk’s power at Tesla is extraordinary. At least one court, Tornetta v. Musk,

310 A.3d 430, 507 (Del. Ch. 2024), has dubbed Musk a “Superstar CEO,” a role that shifts

the traditional balance of power between CEOs, management, the Board, and stockholders

in the CEO’s favor—making the independent actors “doubt their own judgment and hesitate

to question the decisions of their superstar CEO.”3 “‘The only thing’” that holds Musk back




2
  Lora Kolodny & Erin Black, Tesla Founders Martin Eberhard & Marc Tarpenning on Elon Musk,
CNBC (Feb. 6, 2021), https://www.cnbc.com/2021/02/06/tesla-founders-martin-eberhard-
marc-tarpenning-on-elon-musk.html.
3
  Id. (citations omitted).


                                              9
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from his goals is whether his desire “‘is constrained by the laws of physics[.]’”4 Musk is

known for having a reality “distortion field” that subjugates corporate employees to his will,

and weakens “mechanisms by which stockholders hold fiduciaries accountable.” Tornetta,

310 A.3d at 507.

       32.     After securing a position of extraordinary power at the company, Musk abused

it by manipulating the company as part of the fraudulent scheme described herein to enrich

himself and the Musk Trust, breach his fiduciary duties to the company, and breach statutory

and common law duties owed to consumers.

       33.     Musk is well-documented as exceeding his authority for personal gain. For

instance, a Delaware Chancery Court noted that Musk has comingled personnel between his

different companies without any formal arrangements.                Specifically, Musk enlisted

approximately fifty Tesla engineers to provide services to Twitter following his acquisition of

that company, none of whom were hired, retained, or paid by Twitter for services they

provided to Twitter, a company privately owned by Musk.5

       34.     Senator Elizabeth Warren recently questioned Musk’s “significant legal…

conflicts of interest and misappropriation of corporate resources[.]”6 In a letter addressed to

Tesla Chairwoman Robyn Denholm, Warren expressed serious concerns about Musk’s

actions, which she argues prioritize his personal interests over those of Tesla shareholders.



4
  Richard Waters, Elon Musk, billionaire tech idealist and space entrepreneur, FIN. TIMES (Sept. 30,
2016), https://www.ft.com/content/8ca82034-86d0-11e6-bcfc-debbef66f80e (quoting Peter
Diamandis, fellow space entrepreneur).
5
  Tornetta v. Musk, 310 A.3d 430, 494 (Del. Ch. 2024).
6
  Elizabeth Warren, U.S. Senator, Letter to Tesla Chairwoman Robyn Denholm Regarding Elon
Musk's           Conflicts        of           Interest           (Aug.           8,         2024),
https://www.warren.senate.gov/imo/media/doc/final_-
_warren_letter_to_tesla_board_re_musk_conflicts_of_interest.pdf.


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Warren’s letter underscores the severity of the governance issues at Tesla under Musk’s

leadership, and the undue influence he holds over the company to use it to serve his own

interests above all else, to the detriment of both Tesla and consumers.

       35.    A series of shareholder derivative lawsuits have also recently been filed against

Musk, accusing Musk of breaching his fiduciary duties by diverting Tesla’s resources to

support his personal ventures, including his AI company, xAI.7 These lawsuits allege that

Musk poached Tesla employees and misallocated company resources to benefit his private

projects. These allegations further underscore the governance issues raised by Senator

Warren and the power of Musk in his personal capacity, outside of his role as a normal CEO,

to control and manipulate Tesla.

       36.    One former Tesla board member resigned due to the dysfunctional nature of

the board. This director “found the board to operate more like a family company with

fiefdoms, rather than a public company with stringent rules and regulations.”8

       37.    Musk’s personal control over company matters have also been reported by

Tesla employees, who have stated that Musk is involved in the most minute decisions at the

company.9 Musk himself has bragged about sleeping at Tesla factories for extended periods

of time. Musk has also professed knowledge of minor details concerning the testing of Tesla




7
  Meghan. Bobrowsky, Elon Musk and Tesla Shore Up AI Business Amid Legal Scrutiny, WALL
ST. J. (Aug. 11, 2024), https://www.wsj.com/tech/elon-musk-tesla-shore-up-ai-business-
d4e2187f.
8
  Kirsten Grind, Emily Glazer, Rebecca Elliott & Coulter Jones, The Money and Drugs That
Tie Elon Musk to Some Tesla Directors, WALL ST. J. (Feb. 3, 2024),
https://www.wsj.com/tech/elon-musk-tesla-money-drugs-board-61af9ac4.
9
  Lora Kolodny, Elon Musk’s extreme micro-management has wasted time and money at tesla, insiders
say, CNBC (Oct. 19, 2018), https://www.cnbc.com/2018/10/19/cnbcs-lora-kolodny-elon-
musks-extreme-micro-management-has-wasted-time-and-money-at-tesla-insiders-say.html.


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driving ranges, like the impact of someone leaving “the car door opened and the keys in the

car.”10

          38.   Musk’s personal control over Tesla extends to its marketing and advertising

strategies. He directly controls those strategies even though they would typically be handled

by marketing departments in other companies.

          39.   Unlike traditional automakers that spend tens of billions of dollars on

advertising, Tesla has historically spent little to nothing.11 Only after Musk acquired X

(formerly Twitter) in 2023—a company reliant on advertising revenue from other

businesses—did Musk, using his personal account, announce that he was personally altering

Tesla’s marketing strategy to begin utilizing small-scale advertising.12

          40.   Although Tesla, under Musk’s control, hired its first marketing team in 2023,

that team was laid off after less than a year. 13 Musk has always used the global influence of

his own persona as the primary source of Tesla’s marketing.14 As one writer explains, “[I]t’s

exactly Musk’s idiosyncratic approach that has driven the legend (and sales) of Tesla. I spoke




10
   See Tesla, supra note 2.
11
   Jeff Beer, Elon Musk Has to Decide: Does He Want to Be Steve Jobs” or Papa John?, FAST CO.
(May 19, 2020), https://www.fastcompany.com/90506206/elon-musk-has-to-decide-does-
he-want-to-be-steve-jobs-or-papa-john.
12
        See      Elon       Musk      (@elonmusk),         Twitter    (Oct.     23,     2023)
(https://twitter.com/elonmusk/status/1716331220726951975) (where Musk, in responding
to a user’s tweet about Tesla marketing, stated “I said we would advertise. We are doing so
at small scale and will do so at larger scale as we figure what works best.”).
13
   Owen Bellwood, Elon Musk’s Tesla Got Rid of Its Entire Marketing Team in Mass Layoffs,
QUARTZ (April 23, 2024), https://qz.com/tesla-content-growth-cybertruck-layoffs-
1851429138.
14
   Tom Randall, Tesla’s Model 3 Success Hits BMW the Hardest, BLOOMBERG (November 12,
2019),            https://www.bloomberg.com/graphics/2019-tesla-model-3-survey/market-
evolution.html.


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to several major advertising agency execs on background, and all point to Musk’s canny

ability to make the Tesla brand in his own image and have it be the sole driving force.”15

       41.     Musk has utilized his personal X account, along with other mass public

communications, to spread his misrepresentations and material omissions about Tesla’s range

capabilities to great success. Musk’s X account is the most followed account in the world—

with almost 195.4 million followers as of August 2024.16 Musk’s public communications

generate substantial media coverage and public discourse that have bolstered Tesla’s brand

and influenced consumer perceptions, largely to the benefit of Musk and the Musk Trust.17

One author explains that “Tesla has grown at an incredible rate and created massive amounts

of wealth”, and “all primarily on the back of Musk’s personal promotion and brand image.”18

       42.     Musk needs this growth for Tesla because, although a publicly traded company,

he sees it as a personal piggy bank providing the monetary means to his own ends. One court

has noted that “Musk views his compensation from Tesla as a means of bankrolling” his




15
   Id.
16
    @elonmusk, TWITTER, https://twitter.com/elonmusk (last visited Aug. 22, 2024, 11:35
am).
17
   See Driving for Success: Tesla’s Public Relations Strategy, PRLAB, https://prlab.co/blog/tesla-
public-relations-strategy/ (last visited Aug. 13, 2024); An In-Depth Look at Tesla’s Marketing
Strategy, DIGITAL AGENCY NETWORK, https://digitalagencynetwork.com/tesla-marketing-
strategy/ (last visited Aug. 13, 2024); Tesla's Marketing Strategy Broken Down: A Path to Electric
Excellence, BOLD X COLLECTIVE, https://www.boldxcollective.com/insights-blog/teslas-
marketing-strategy-broken-down-a-path-to-electric-excellence (last visited Aug. 13, 2024).
18
    Jeff Beer, Tesla Axed Its Entire Marketing Team—Here’s Why That Matters, FAST CO. (April
26, 2024), https://www.fastcompany.com/91113609/tesla-axed-its-entire-marketing-team-
heres-why-that-matters.


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personal pet projects.19 And in emails between Musk and stakeholders at another of Musk’s

former pet projects, OpenAI, Musk suggested that “OpenAI” use “Tesla as its cash cow.”20

           43.   Musk’s compensation package at Tesla is directly linked to the company

achieving specific market value milestones. This arrangement motivates him to maximize

Tesla’s market value by any means necessary to enrich himself and the Musk Trust, including

by overstating the driving ranges of Tesla vehicles and rigging their range meters, as explained

in greater detail below. And the value of Musk’s equity in Tesla has seen a dramatic rise

coinciding with these fraudulent statements and omissions. Since 2018, the value of his Tesla

equity has surged by almost 1,000%, increasing from approximately $11.7 billion to over $120

billion.

           44.   Musk’s scheme to enrich himself and the Musk Trust by manipulating Tesla to

defraud the public has been tremendously successful. Musk’s compensation package from

Tesla has made him the highest-paid CEO in U.S. (and world) history, even though his

contract does not require Musk to spend any specific amount of time on Tesla-specific duties.

Musk’s equity in the company, for example, was valued at just under $200 billion in 2022.




19
   Tornetta, 310 A.3d at 452 (citing to excerpts of Musk’s trial testimony); see also id. (“Musk
sees working at Tesla as worthy of his time only if that work generates ‘additional economic
resources . . . that could . . . be applied to making life multi-planetary.’”) (quoting Musk’s trial
testimony).
20
   OpenAI & Elon Musk, OPENAI (March 5, 2024), https://openai.com/index/openai-elon-
musk/. OpenAI is an artificial intelligence company that Musk co-founded and is now suing
for breaking from its non-profit mission at the same time he started a competing for-profit AI
venture himself. See Michael Dorgan, Elon Musk Suing OpenAI, Sam Altman for Breaching Not
for       Profit        Mission,          FOX        BUSINESS          (Mar.        1,      2024),
https://www.foxbusiness.com/technology/elon-musk-suing-openai-sam-altman-breaching-
not-profit-mission).


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       B.     Musk Misrepresented Driving Range and Made Tesla Do the Same.

       45.    Musk perpetrated a scheme to deceive consumers into purchasing Teslas by

constantly telling all sorts of lies about their range. First, he made deceptive statements and

omissions about driving range totally untethered to any EPA estimate (or any estimate at all).

Second, he rigged the dashboard range meters to misrepresent driving range, retelling the lies

about actual driving range—not EPA estimates—every time consumers drove their vehicles.

Third, when he referred to EPA estimates, Musk used them with deceptive additional

statements and omissions to consumers beyond the EPA estimates themselves to falsely

suggest that EPA estimates were achievable in real-world conditions despite knowing they

were not. Musk also used his control of Tesla to make the company tell all the same lies about

range that he did. The combined effect of these misrepresentations would deceive any

reasonable consumer. And they made Musk and his Trust the richest in the world.

              1.     Musk Made False Representations and Misleading Omissions to Consumers
                     About Tesla Range Totally Untethered to EPA Estimates and Made Tesla
                     Do the Same.

       46.    Musk has constantly made affirmative statements regarding Tesla driving

ranges in real-world conditions untethered to any EPA estimate, all to deceive consumers.

Leveraging his self-proclaimed micromanagement of Tesla and the extraordinary influence of

his personal presence, Musk has also similarly directed Tesla to fraudulently inflate vehicle

ranges untethered to EPA estimates, further misleading consumers.

       47.    As discussed above earlier, Musk has strategically integrated his personal X

account into Tesla’s marketing and public relations efforts, using it as a primary vehicle for

spreading misinformation about Tesla ranges. Through his X account, Musk frequently

makes affirmative statements regarding Tesla actual driving ranges—not EPA estimates—




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and he often compares Tesla’s performance to that of fully or partially gas-powered vehicles

to further distort the truth.    The below recounts just a few examples of Musk’s

misrepresentations about actual driving range, not EPA estimates.

          48.   On May 20, 2018, Musk falsely claimed the Model 3’s actual range was 310

miles (without referring to any EPA estimate or any estimate at all), compared it to a BMW

M3 (which uses a gas-powered engine), and stated it would “beat anything in its class on the

track:”




                                            16
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       49.    In February 2020, Musk tweeted a link to a Consumer Reports article and

falsely stated that the “Model 3 achieves 350 mile actual range vs 310 EPA sticker in

Consumer Reports testing:”




       50.    Musk knew his statement was false, and that it misleadingly characterized the

very Consumer Reports article it linked to. That article did not claim that Consumer Reports

had achieved 40 miles more than “the EPA sticker.”21 The article states that Consumer




21
  Jeff Plungis, Tesla Ups Ante on Model Y Range, Underscoring Its EV Lead, CONSUMER REPORTS
(Feb. 18, 2020), https://www.consumerreports.org/hybrids-evs/tesla-ups-ante-on-model-y-
range-underscoring-ev-
lead/?srsltid=AfmBOopWVmJ2A9B9RfIFtKxBUj50vnPWCDb2aJoq-
JspDTwDLQJyAZbt.


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Reports was only able to get 350 miles when it tested a Model 3 Long Range,22 and then only

when it switched the car into a special setting designed to utilize the vehicle’s battery in a way

that, by Tesla’s own warning, would “cause battery degradation” and require longer charging

times.23 Indeed, Consumer Reports only obtained this range when utilizing “aggressive

regenerative braking”—a style of driving not indicative of normal consumer behavior or EPA

testing parameters,24 which Musk knew. And even if Musk’s statement were true regarding

the Model 3 Long Range, it still would be per se deceptive under FTC guidance, because it

doesn’t distinguish which version of the Model 3 achieved that range, nor does it disclose

under what conditions.25

       51.     In July 2020, Musk similarly made false claims regarding the Model Y and

stated it would have a range “significantly higher than 300” miles, without making a reference

to EPA estimate, testing criteria, model type, or driving mode:




22
   The article references Consumer Reports’ testing, which the company clarifies was a Model
3 Long Range. See Tesla Model 3 Road Test Report, CONSUMER REPORTS (2020),
https://www.consumerreports.org/cars/tesla/model-3/2020/road-test-
report/?srsltid=AfmBOoqjOrV41tbMn0ss3qytMSeNuw4Mmrqv1h_8JSUt4Z3WRLJtf1Du.
23
   See Plungis, supra n. 21.
24
   See Tesla Model 3 Road Test Report, CONSUMER REPORTS, supra n. 22.
25
   See 16 C.F.R. § 259.4; see also Federal Trade Commission, FTC Report: Many Consumers
Believe Claims Promise Maximum Results, FTC (June 19, 2012), https://www.ftc.gov/news-
events/news/press-releases/2012/06/ftc-report-many-consumers-believe-claims-promise-
maximum-results.        The "Guide Concerning Fuel Economy Advertising for New
Automobiles" from the Federal Register outlines that any advertising claims about fuel
economy, including range, must be based on the results of tests prescribed by the
Environmental Protection Agency (EPA). Advertisers must clearly disclose if the range or
fuel economy estimates are based on non-EPA tests and ensure that such claims do not
mislead consumers by omitting critical information, such as the specific conditions under
which the advertised figures were achieved.


                                               18
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       52.    In March 2022, after Tesla failed to deliver a 600-mile electric car that Musk

promised years earlier, Musk falsely claimed:




       53.    None of Tesla’s cars have a “400+ mile range,” and Musk knew that.

       54.    In May 2024, Musk falsely tweeted that the “‘260 Mile’ range Model Y’s built

over the past several months actually have more range that can be unlocked for $1500 to

$2000 (gains 40 to 60 miles of range)”:



                                            19
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       55.    In July 2024, Musk falsely tweeted that the Model 3 had a 363-mile actual

range, yet again without referring to an EPA estimate or any estimate at all:




                                             20
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        57.      Musk also misrepresented Tesla vehicle ranges at various other presentations

to the public.      For example, Musk lied about the range of Tesla’s Model S in a public

corporate earnings call on April 29, 2020, where he reported that “the real Model S range is

400 miles.”26 As Musk knew, that figure was substantially higher than the actual range.

Indeed, independent third-party testing estimated that Teslas underperform their stated ranges

by about 26% on average.27

        58.      At another point in 2019, when Musk introduced the Model Y, he falsely

claimed the car had “an actual true-usable range of 300 miles,” even though he knew the true

range         was        substantially      less.             https://youtu.be/w3s1awGu1-

M?si=O7eWU5A9x6LG9iD_&t=96:




26
   Tesla,     Inc.       (TSLA)         Q1      2020        Earnings Call      Transcript,
https://www.fool.com/earnings/call-transcripts/2020/04/30/tesla-inc-tsla-q1-2020-
earnings-call-transcript.aspx (last visited Aug. 22, 2024).
27
   Jonathan Elfalan, Cameron Rogers, Electric Car Range and Consumption: EPA vs. Edmunds,
EDMUNDS (May 22, 2024), https://www.edmunds.com/car-news/electric-car-range-and-
consumption-epa-vs-edmunds.html.


                                              21
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       59.    Musk likewise claimed that the Model S-Plaid has “almost a 400-mile range,”

even     though     he     knew      the     true    range      was     substantially    less.

https://youtu.be/PNbusPm46Cw?si=YuAhs-UD8sCLpKP6&t=20:




       60.    None of these vehicles have an actual range as high as Musk claimed, and Musk

(who has admitted he is responsible for Tesla’s technology, and who himself drives a Tesla

Model S) knew and knows that.

       61.    Musk was responsible for the contents of all the above misrepresentations about

range (and many others) and could alter them unilaterally without agency approval.

       62.    Musk used his control of Tesla to cause it to make similarly fraudulent range

claims without any reference to EPA estimates. During the time many consumers purchased

their vehicles, Tesla’s website and marketing materials contained affirmative statements about



                                             22
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vehicle ranges that did not cite the “EPA” or any “estimate.” As evidenced by his public

statements, Musk directed Tesla to prominently display these inflated ranges on the website,

fully aware of how crucial driving range is to consumers and how consumers would interpret

these figures. These deceptive statements go far beyond the disclosure of EPA mileage

estimates required under federal law.

       63.    For instance, the Model S webpage claimed 370 miles of actual range without

referring to the EPA or any estimate:




       64.    Similarly, the Model 3 webpage claimed 353 miles of actual range without

referring to the EPA or any estimate:




                                            23
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      65.    And the Model X webpage claimed 340 miles of actual range without referring

to the EPA or any estimate:




      66.    Even as of the date this amended complaint was filed, many order pages for

Teslas claimed actual ranges without referring to any EPA estimate. For example, the Model

3 order webpage claimed 322 miles of actual range for vehicles with 19’’ wheels without

referring to any EPA estimate:




                                           24
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       67.   As of the date this amended complaint was filed, many order pages for used

Teslas likewise claimed actual ranges without referring to any EPA estimate. For example, a

used Model S order page claimed 375 miles of actual range without referring to any EPA

estimate:




       68.    In addition, Tesla, under Musk’s control, used Tesla’s twitter account to tweet

Model 3 specifications without using an “EPA Estimate” or any estimate:




                                             25
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       69.    In addition to misrepresenting driving ranges in terms of miles, Musk also

ordered Tesla to make other misrepresentations about how far its vehicles could travel in the

real world in other sections of the website. These additional misrepresentations aren’t EPA

estimates.

       70.    For example, in a “Freedom to Travel” map for the Model S, the website read:




                                             26
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      71.    This “Freedom to Travel” map implies that the Model S can make a trip from

San Francisco to Los Angeles on a single charge, but that’s not possible. And numerous

Model S owners have discovered as much and have complained about it in online forums:

             •   “405 miles range is a joke . . . actual range . . . would be 330-340 miles.”

             •   “According to my calculations it’s real world range was around 320-330

                 miles.”

             •   “275 miles for me. Start at 100. Until 50 miles left. Actual distance plus 50

                 miles equals 275 miles or so.”

             •   “[T]he vehicle is rated at 405 miles, but [I] cannot get anywhere close to

                 that range.’ Yup. Neither can anyone else, because it’s not realistic.”

             •   “My calculations show that we got 258 miles with 100% of a full charge

                 (325 miles with 126%)!”

             •   “400 miles is an unachievable fantasy to begin with.”

      72.    And the story is the same for other model owners:

             •   For the Model 3 standard range, one user complained: “I purchased a

                 model 3. Not a long range nor a dual motor model. Said I should get 273

                 mi per charge. I seem to get about half that.”

             •   Another Model 3 owner complained: “my real world range is about 203

                 miles . . . [when it] should have ~322 miles (rated range obviously).”

             •   And a Model Y long range owner complained: “the actual mileage I got

                 was at best 244 miles, kind of shocking.”




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              •   And for the Model X: “My experience so far seems to put real world range

                  at about 22-25 miles per 10% battery so around 220-250 miles on a full

                  charge.”

       73.    Musk was responsible for causing Tesla to make misrepresentations about

range with the above content (among many other misrepresentations) and could alter them

unilaterally without agency approval.

       74.    As shown above, to enrich himself and the Musk Trust, Musk for years made

false claims about the ranges Tesla vehicles could travel without any reference to “EPA

estimates.” And he made Tesla do the same.

       75.    In addition to making affirmative misrepresentations about Tesla’s driving

ranges, Musk intentionally concealed material facts in a further effort to deceive any

reasonable consumer. And he made Tesla do the same.

       76.    Musk concealed from consumers the inherent limitations that significantly

affected the advertised driving ranges and made them impossible to achieve in real-world

conditions. Musk, and Tesla under Musk’s control, intentionally omitted the fact that the

touted ranges could not be consistently achieved, or achieved at all, under conditions that

most drivers would encounter in their everyday use. These undisclosed factors included the

significant range reduction caused by cold weather and the unrealistic driving patterns

required to meet the advertised ranges. Hiding these truths, as Musk and Tesla under Musk’s

control did, would further deceive any reasonable consumer into believing that Tesla vehicles




                                             28
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could achieve driving ranges in real-world conditions that they simply could not. For

example:

              •     Musk made false claims about range without disclosing that they were

                    unattainable in real-world driving conditions (and caused Tesla to do the

                    same).

              •     Musk made false claims about range without disclosing that ordinary

                    weather conditions, like cold temperatures, dramatically reduced range

                    even farther below the already inflated claims (and caused Tesla to do the

                    same).

       77.        Musk was also responsible for causing Tesla to make omissions about range

and could alter them unilaterally without agency approval.

              2.       Musk Caused Tesla to Rig Dashboard Range Meters to Misrepresent Driving
                       Range (Not EPA Estimates) Every Time Consumers Drove Their Vehicles.

       78.    Musk’s fraudulent scheme would have been easily exposed if he relied solely

on misleading public statements about vehicle driving ranges. Potential customers would

have immediately recognized the deception during a test drive when they observed the actual

ranges displayed on the dashboard.28 And for those customers who purchased their vehicles

online without a test drive, they would have returned the vehicle within the seven-day return

period Tesla previously adhered to, once the new owners detected the lies upon starting their

cars and seeing the true range readings.29 To prevent this, Musk directed Tesla’s engineers to


28
   At least 66% of Tesla purchasers test drove their vehicle prior to purchasing it during 2017-
2019. See Tim Higgins & Adrienne Roberts, Tesla Takes New Road in Pushing Car Sales
Online Only, Wall St. J. (Mar. 3, 2019), https://www.wsj.com/articles/tesla-takes-new-
road-in-pushing-car-sales-online-only-11551620986.
29
   See id. (where Musk justified closing some showrooms as a “move consistent with the times,
and touted a seven-day return policy and a shopping process that he said will take just a


                                              29
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alter the software controlling the range meter, ensuring that the vehicles displayed

exaggerated driving ranges that matched his false claims.

       79.    Among other things, the range meter purports to inform drivers approximately

how far their vehicles can travel on the remaining battery charge. For example, the image

below shows a Tesla Model S range meter claiming a range of 385 miles:




       80.    The range meters in Teslas state falsely inflated ranges without referring to any

EPA estimate (or any estimate at all), as shown in the screenshot above.




minute to complete.”). Tesla “discreetly” canceled its seven day return policy at some point,
and it’s “unclear” what the current policy is. Kenny Norman, What You Didn’t Know About
Tesla’s 2023 Return Policy, HOTCARS (July 11, 2023), https://www.hotcars.com/tesla-return-
policy-2023/.


                                             30
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       81.      “The directive to present the optimistic range estimates came from Tesla Chief

Executive Elon Musk.”30 As insiders have confirmed, “Elon wanted to show good range

numbers when fully charged” to deceive customers into buying Teslas for more than they

were worth.31

       82.      Musk directed Tesla employees to “write algorithms for its range meter that

would show drivers ‘rosy’ projections” specifically “for marketing purposes.”32 Indeed, the

deceptive behavior was a part of Musk’s design to mislead consumers into purchasing Teslas

for far more than they were worth.

       83.      Again, numerous Tesla owners have posted online complaints about the

inaccurate range meters. For example:

                •   One Model S owner said: “When fully charged it [the range meter] says 405

                    miles yet my real world range is 280 miles.”

                •   A Model 3 owner similarly reported: “The route I took is 7.1 miles, but

                    according to the car, I used 11 miles of battery range.”

                •   And a Model Y owner reported: “I drove about 107.1 miles, but lost 133 in

                    range.”

       84.      Moreover, the range meter only begins to provide a more accurate reading

when the battery charge drops below 50%, presumably to prevent motorists from becoming

stranded, which would cause more scrutiny of the false range claims. Thus, the inaccurate

range meter is not the result of technical limitations. Tesla—which also claims to have near



30
    Special Report Team, Tesla’s Battery Range: An Investigation, REUTERS (July 27, 2023),
https://www.reuters.com/investigates/special-report/tesla-batteries-range/.
31
   Id.
32
   Id.


                                                31
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fully autonomous vehicles—of course had the ability to provide accurate range readings for

full battery charges. But Musk ordered the company to provide false readings to deceive

customers about this critical aspect of the vehicle’s performance.

       85.     The range meters Musk rigged would deceive any reasonable consumer about

the range Teslas could achieve in real-world driving conditions regardless of any EPA

estimates.

       86.     Musk was responsible for causing Tesla to rig the range meters and could alter

them unilaterally without agency approval. In fact, the EPA does not regulate the range

meters and did not approve the functionality of the range meters in Tesla.

       87.     As a result of Musk’s manipulation, Tesla owners were deprived of basic,

critical information about the capabilities of their vehicles every time they drove their vehicles,

all because Musk wanted to sell more vehicles and manipulate the market.

               3.     When Musk Referred to EPA Estimates (and Caused Tesla to), He Used
                      Them with Additional Misrepresentations and Omissions to Consumers to
                      Mislead Them About Driving Range

       88.     The Environmental Protection Agency (“EPA”) reviews fuel economy figures

for vehicles sold in the United States. The Federal Trade Commission (“FTC”) requires that

when an auto manufacturer advertises vehicle fuel economy, it must state that the figure is an

“estimate” and identify the EPA “as the source . . . so consumers understand that the estimate

is comparable to EPA estimates for competing models.” 16 C.F.R. § 259.4(d), (e).

       89.     Per 49 U.S. Code § 32901(a)(11), the definition of “fuel economy” is “the

average number of miles traveled by an automobile for each gallon of gasoline (or equivalent

amount of other fuel) used.” For EVs, “fuel economy” is measured by MPGe, which stands

for miles per gallon of gasoline-equivalent. In the EPA’s words, MPGe is “similar to MPG,



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but instead of presenting miles per gallon of the vehicle’s fuel type, it represents the number

of miles the vehicle can go using a quantity of fuel with the same energy content as a gallon

of gasoline. This allows a reasonable comparison between vehicles using different fuels.”33

Estimated range is not MPGe and it is not a measure of fuel economy.

       90.    Setting that aside, Musk used EPA range estimates with additional

misrepresentations and omissions to consumers to mislead them about the range Teslas could

achieve in real-world driving conditions. Musk likewise caused Tesla to do the same.

       91.    For example, in May 2021, Tesla changed the Model 3’s webpage to include

“EPA Estimate” on one section of the page:




       92.    However, on another portion of the same page, Tesla, under Musk’s control,

claimed the consumer could “[g]o anywhere with up to 353 mi of estimated range on a single

charge” without any reference to the EPA:



33
 U.S. EPA, Text Version of the Electric Vehicle Label, EPA.GOV (last visited Aug. 26, 2024),
https://www.epa.gov/fueleconomy/text-version-electric-vehicle-label#2.


                                              33
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       93.    These additional statements separate from EPA estimates were untrue and

misleading. The use of “up to” 353 miles of range, as well as the omission of which specific

model or driving mode on which the range claim is based, are all per se misleading according

to the FTC.34 Indeed, this language implies to any reasonable consumer that this was the

actual “estimated range” that would be achieved in the real world. That is especially so

because the website depicted a Tesla on the road near mountains to falsely suggest that the

car could obtain “up to 353 mi of estimated range on a single charge” in real-world driving

conditions even though that is not true.

       94.    Not only did Musk cause Tesla to make misleading statements to consumers

separate from EPA estimates, but he also caused Tesla to make misleading omissions to

consumers.



34
  16 C.F.R. § 259.4; see also Federal Trade Commission, FTC Report: Many Consumers Believe
Claims Promise Maximum Results, (June 21, 2012), https://www.ftc.gov/news-
events/news/press-releases/2012/06/ftc-report-many-consumers-believe-claims-promise-
maximum-results.


                                            34
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         95.   Material omissions can be as deceiving as affirmative misrepresentations. As

Musk himself has acknowledged, “propaganda isn’t just about creating fake news.” It’s “also

about hiding real news:”35




         96.   Hiding real news about vehicle range is precisely what Musk did. And he made

Tesla do the same.

         97.   For example, the only references to weather on the webpage above were to boast

about the Model 3’s “[u]nparalleled traction and control, in all weather conditions,” which

omitted the fact that weather materially impairs the vehicle’s driving range:




35
     https://x.com/elonmusk/status/1826630645319373112


                                             35
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       98.    Another portion on the same page depicted a Model 3 driving through snow-

capped, icy mountains, to further boast about the Model 3’s performance “in all weather

conditions,” which omits that cold weather like that would cause the car to get a fraction of

the displayed range:




       99.    These additional misrepresentations and omissions to consumers are separate

from EPA estimates and would lead a reasonable consumer to falsely believe Teslas obtain

the advertised range in real-world conditions, even driving through icy mountains.



                                             36
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       100.   Further, when the consumer pressed “ORDER NOW,” the site would take

them to the following order page:




       101.   When the consumer clicked on the “Learn More about Range and

Performance” link, a pop-up would appear that contained additional ranges (without any

reference to “EPA” or “estimate”), along with a statement that “[f]or the best long-range

driving experience in the coldest driving conditions, we recommend a Long Range or

Performance Model 3”:




                                           37
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       102.   This language omits that weather conditions materially affect the Model 3’s

driving range in real-world conditions. It merely acknowledges that the “Long Range” and

“Performance” versions of the Model 3 have better driving ranges than the standard version—

which has nothing to do with weather conditions. It also refers only to “very cold weather,”

implying that the cars perform normally in cool or just plain cold weather, creating a

misleading impression that cold weather has a minimal impact on range.

       103.    Omissions like the above were material because they falsely led consumers to

believe that EPA estimates were a reliable predictor of real-world performance, regardless of

driving mode and conditions, which was false and deceptive per se under FTC guidance.36

       104.   This is in sharp contrast to other EV carmakers at the same time, who stress at

the point of purchase that their estimates are based on EPA estimates, which are useful for

comparing models to other EPA estimates only, and also stress the impact that cold weather

has on the range. For example, Porsche, like Tesla, displays EV range as the first feature on

its website. But unlike Tesla, Porsche includes a double asterisk next to range (“**”) that links

to an entirely separate page of warnings about range, including the impact of cold weather.

Musk ensured that Tesla did not make similar disclosures, whether using EPA estimates or

not. In any event, Musk used EPA estimates to give consumers the false impression that their

Teslas would obtain unrealistically high range in real-world driving conditions.




36
  See 16 C.F.R. § 259.4. In sharp contrast, most EV automakers have strong disclaimers, or
even whole web pages, dedicated to explaining how battery range can be affected by multiple
factors, including weather. See https://www.audiusa.com/us/web/en/ev-hub/range.html
(explaining Audi’s range capabilities and factors that could hinder it).


                                               38
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       105.   Musk was responsible for using EPA range estimates with additional

misrepresentations and omissions to consumers and could alter them unilaterally without

agency approval (and for causing Tesla to do the same). The EPA does not regulate or control

what statements and omissions are made with EPA-approved estimates.

       106.   Musk’s manipulation of Tesla to make false statements, as well as his own

personal false statements, regarding vehicle ranges is well-documented in media reports:

              •   “Elon Musk reportedly gave the order himself for the displays in Teslas to

                  present overly optimistic estimates of driving range;”37

              •   “For years, Tesla has earned a reputation for over-estimating its range

                  figures, with the EPA claiming that CEO Elon Musk exaggerated the 400-

                  mile range for the Tesla Model S Long Range back in 2020;”38

              •   “Elon Musk lied about the EPA’s Tesla Model S test, agency claims;”39

              •   “‘Elon wanted to show good range numbers when fully charged,’ the

                  [source] said, adding: ‘When you buy a car off the lot seeing 350-mile, 400-

                  mile range, it makes you feel good.’”40




37
   Grace Kay, Elon Musk Gave Order for Tesla to Display Optimistic Driving Range: Report, BUS.
INSIDER (July 27, 2023), https://www.businessinsider.com/elon-musk-gave-order-tesla-
display-optimistic-driving-range-report-2023-7.
38
   Sean Hollister, Tesla Lowers Range Estimations for Model X, S, Y Amid Mileage Exaggeration
Claims, THE VERGE (Jan. 5, 2024), https://www.theverge.com/2024/1/5/24026367/tesla-
lowers-range-estimations-model-x-s-y-mileage-exaggeration.
39
   Sean O'Kane, Elon Musk Said He Deliberately Took Steps to Mislead the EPA about Tesla Model
S Range, THE VERGE (May 1, 2020), https://www.theverge.com/2020/5/1/21244556/elon-
musk-lie-epa-tesla-model-s-range-miles-mistake-door.
40
   Special Report Team, Tesla’s Battery Range: An Investigation, REUTERS (July 27, 2023),
https://www.reuters.com/investigates/special-report/tesla-batteries-range/.


                                              39
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              •   “Tesla’s EV Range Is Far From Accurate (And That’s on Purpose);”41

              •   “Elon Musk had Tesla overstate its battery range. Tesla then canceled

                  related service appointments.”42

              •   “Tesla programmers rigged the cars’ range-estimating software to

                  exaggerate how far they could go without running out of battery and then,

                  when charge on the battery fell below 50%, readjust to a more realistic

                  projection, one Tesla employee told Reuters—an idea that came directly

                  from CEO Elon Musk himself.”43

              •   “A source that spoke to Reuters for the piece suggests that this issue was in

                  part the result of an algorithm intentionally designed to give ‘rosy’

                  projections, adding that the instruction to build in misleadingly optimistic

                  estimates came directly from Tesla executive and mascot Elon Musk.”44

       107.   In sum, based on the combined effect of Musk’s misrepresentations and

omissions about range (and the misrepresentations and omissions he caused Tesla to make),

any reasonable consumer would have expected Teslas to achieve higher range in real-world

conditions than they actually do.


41
   Ian Kreitzberg, Tesla’s EV Range: Far From Accurate on Purpose, THE STREET (July 27, 2023),
https://www.thestreet.com/electric-vehicles/teslas-ev-range-far-from-accurate-on-purpose.
42
   Chris Taylor, Tesla, Elon Musk Inflated Driving Range: Report, MASHABLE (July 27, 2023),
https://mashable.com/article/tesla-elon-musk-inflated-driving-range-report.
43
   Mary Roeloffs, Tesla Exaggerated Its Cars' Driving Range and Canceled Service Appointments If
Drivers      Complained,       Report       Says,      FORBES       (July        27,      2023),
https://www.forbes.com/sites/maryroeloffs/2023/07/27/tesla-exaggerated-its-cars-
driving-range-and-canceled-service-appointments-if-drivers-complained-report-
says/?sh=6a0af327d9c4.
44
   Fred Smith, Tesla’s In-Car Range Estimates Have Reportedly Been Overstated for Years, ROAD &
TRACK (July 27, 2023), https://www.roadandtrack.com/news/a44664189/teslas-in-car-
range-estimates-have-reportedly-been-overstated-for-years/.


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       108.   These claims are premised on fraudulent representations and omissions to

consumers. They do not require proof of noncompliance with EPA regulations or of a fraud

on the EPA or any other regulator. Regardless of whether Musk complied with EPA

regulations, he still misrepresented and concealed material information from consumers and

caused Tesla to do the same.

              4.     Musk Manipulated Tesla to Create a Diversion Team to Conceal His Fraud

       109.   Once Tesla owners realized that their cars weren’t performing as Musk

claimed, Tesla was inundated with service requests complaining about the cars’ mileage. But

Musk knew that servicing the cars would be pointless because the vehicles were working as

designed—to provide lower driving ranges than advertised. So to avoid having to waste

resources and having the lies exposed, Musk implemented a “Diversion Team.”

       110.   The Diversion Team was designed to perpetuate Musk’s fraud by preventing

customers from having their vehicles serviced for range-related issues. For example, when a

customer scheduled a service appointment to address the vehicle’s driving range, a member

of the Diversion Team would conduct a “remote diagnostic” and, regardless of the results,

tell the customer that the vehicle was fine and cancel the appointment. The Diversion Team

further told customers that the stated range was a “prediction” rather than an actual

measurement and falsely suggested that the range issues were the result of the batteries

naturally degrading over time. The Diversion Team did not tell the truth: the ranges that

Tesla’s vehicles could travel were exaggerated (at Musk’s direction), and the range meter

deliberately misstated driving ranges (also at Musk’s direction). Indeed, the whole point of

the “Diversion Team” was to divert attention from Musk’s deception.




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       C.      Numerous Sources (Including Musk’s Own Statements) Confirm That Musk Lied
               About Driving Range and that he Manipulated Tesla to Lie Too

       111.    Musk’s deception was enormously successful. In a highly competitive industry,

Tesla became the market leader. That was only possible through Musk’s campaign of

deception. Most consumers won’t consider buying an EV unless they can get at least 300

miles out of a single charge, as Tesla’s own market data showed.45 So if Musk had been

honest about vehicle ranges, he would have made billions less.

       112.    Multiple sources have begun to confirm the extent of Musk’s lies. In January

2023, the Society of Automotive Engineers released a report after testing several Tesla models.

The report found Tesla’s listed driving ranges are overstated by an average of 26%. Thus,

based on Tesla’s range misrepresentations, a Model S Plaid owner could reasonably decide

to drive from San Francisco to Los Angeles on a full charge, but would be left stranded

approximately 85 miles short of the destination.

       113.    Then, on July 27, 2023, Reuters published a special report describing Musk’s

practice of intentionally inflating the range of Tesla vehicles.46

       114.    Musk himself has acknowledged the fraud. After the South Korean Fair Trade

Commission (KFTC) fined Tesla over $2.2 million for overstating the range of its vehicles,

along with lying about the performance of its Superchargers (stations that the company

installed for owners to pay to recharge their car “up to 200 miles of range in just 15 minutes”),

Musk said in a June 19, 2023 post on Tesla’s Korean website: “From August 2019 to

December 2022, we violated the ‘Fair Labeling and Advertising Act’ by engaging in false,


45
  Randall, supra note 1.
46
  Steve Stecklow and Norihiko Shirouzu, Tesla Created Secret Team to Suppress Thousands of
Driving       Range      Complaints,      REUTERS             (July        24,     2023),
https://www.reuters.com/investigates/ special-report/tesla-batteries-range/.


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exaggerated, and deceptive advertising activities in manufacturing, importing, and selling our

electric vehicles. We received a corrective order from the KFTC.”47

       115.   Additionally, the EPA is currently investigating Tesla and has cut the official

range estimates for the Model S, Model Y and Model X. The Department of Justice is

likewise investigating Tesla’s claims about driving ranges. Tesla has acknowledged that the

DOJ’s investigation may have a “material adverse impact on our business.”

       116.   In any event, as a result of these and other events, in January 2024, Tesla

adjusted the advertised ranges for most of its vehicles¾for example, reducing the Model Y

Long Range by 20 miles, the Model S Plaid by 37 miles, and the Model X Plaid by 7 miles.48

Tesla separately lowered the Model 3 Long Range in November 2023 from 358 to 333 miles.

Tesla gave no explanation for doing so, because the only explanation was that Musk and the

company had previously lied about the vehicles’ true ranges.

       117.   Tesla likewise quietly reduced the stated ranges in the range meters for many

vehicles via a software update, again without explanation.

       118.   Even now, however, Musk continues to manipulate Tesla to overstate vehicle

ranges. Both the advertised ranges and the range meters continue to be deceptively inflated

even though reduced from prior levels.




47
   Jasmine Choi, Tesla Announces 'Exaggerated Advertising' Rectification Measures after 6 Months,
BUSINESSKOREA                        (June                        20,                      2023),
https://www.businesskorea.co.kr/news/articleView.html?idxno=116738.
48
   Jess Weatherbed, Tesla lowers Model Y, S, and X range estimations following exaggeration
complaints,           THE             VERGE              (Jan.             5,              2024),
https://www.theverge.com/2024/1/5/24026367/tesla-lowers-range-estimations-model-x-s-
y-mileage-exaggeration.


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         119.    The publicity of Musk’s misconduct has damaged the market value of Tesla

vehicles. Prices of Tesla vehicles fell by more than 30% on certain models, further injuring

consumers who purchased misrepresented vehicles before the price reductions.

         120.    Musk previously promised that “if you buy a Tesla today, I believe you're

buying          an      appreciating       asset,    not      a       depreciating       asset.”

https://www.youtube.com/watch?v=dEv99vxKjVI. But the drastic drop in Tesla vehicle

prices, due to Musk’s fraudulent practices, shows that this statement was unequivocally false.

         D.      Plaintiffs’ Experiences

         121.    Chris Watkins: Chris is a college soccer coach who purchased a Tesla in 2020

in the state of Washington and now resides in Massachusetts. His vehicle’s driving range is

far less than its advertised range and far less than the range displayed on the range meter when

fully charged. Had Chris known the car’s range was exaggerated and that Musk manipulated

the range meter to show a false range, he would not have purchased the vehicle or would have

paid considerably less.

         122.    Eric Day: Eric purchased a Tesla in Massachusetts in 2021. His vehicles’

driving range is far less than their advertised ranges and far less than the ranges displayed on

the range meters when fully charged. Had Eric known the cars’ range was exaggerated and

that Musk manipulated the range meters to show a false range, he would not have purchased

the vehicle or would have paid considerably less.

         123.    Global Lease Group Inc. is a Massachusetts company owned by

Massachusetts resident Sham Sahni. Global Lease Group purchased a Tesla in 2022 in

Massachusetts. The vehicle’s driving range is far less than its advertised range and far less

than the range displayed on the range meter when fully charged. Had Global Lease Group



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known the car’s range was exaggerated and that Musk manipulated the range meter to show

a false range, it would not have purchased the vehicle or would have paid considerably less.

       124.   Giorgio Petruzziello: Giorgio purchased a Tesla in 2022 in New

Hampshire. His vehicle’s driving range is far less than its advertised range and far less than

the range displayed on the range meter when fully charged. Had Giorgio known the car’s

range was exaggerated and that Musk manipulated the range meter to show a false range, he

would not have purchased the vehicle or would have paid considerably less.

       125.   Prudhvi Samudrala: Prudhvi is a software engineer who purchased a Tesla in

2021 in Illinois. His vehicle’s driving range is far less than its advertised range and far less

than the range displayed on the range meter when fully charged. Had Prudhvi known the

car’s range was exaggerated and that Musk manipulated the range meter to show a false range,

he would not have purchased the vehicle or would have paid considerably less.

       126.   Drew Talreja: Drew purchased a Tesla in 2022 while he was a Kentucky

resident. His vehicle’s driving range is far less than its advertised range and far less than the

range displayed on the range meter when fully charged. Had Drew known the car’s range

was exaggerated and that Musk manipulated the range meter to show a false range, he would

not have purchased the vehicle or would have paid considerably less.

       127.   William Wilson: William is the chief executive of a small business who

purchased a Tesla in 2021 in Florida. His vehicle’s driving range is far less than its advertised

range and far less than the range displayed on the range meter when fully charged. Had

William known the car’s range was exaggerated and that Musk manipulated the range meter

to show a false range, he would not have purchased the vehicle or would have paid

considerably less.



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       128.    Karen Kyutukyan: Karen, who goes by Gary, is a sales professional who

purchased a Tesla in 2021 in California. His vehicle’s driving range is far less than its

advertised range and far less than the range displayed on the range meter when fully

charged. Had Karen known the car’s range was exaggerated and that Musk manipulated the

range meter to show a false range, he would not have purchased the vehicle or would have

paid considerably less.

       129.    Rajeev Talreja: Rajeev purchased a Tesla in New York in 2020 and another in

Florida in 2023. His vehicles’ driving range is far less than their advertised ranges and far less

than the ranges displayed on the range meters when fully charged. Had Rajeev known the

cars’ range was exaggerated and that Musk manipulated the range meters to show a false

range, he would not have purchased the vehicle or would have paid considerably less.

       130.    Kris Nathan: Kris purchased a Tesla in 2023 in New Jersey. His vehicle’s

driving range is far less than its advertised range and far less than the range displayed on the

range meter when fully charged. Had Kris known the car’s range was exaggerated and that

Musk manipulated the range meters to show a false range, he would not have purchased the

vehicle or would have paid considerably less.

       131.    Eduard Chenette: Eduard purchased Teslas in Maine within the limitations

period. His vehicles’ driving ranges are far less than their advertised ranges and far less than

the ranges displayed on their range meters when fully charged. Had Eduard known the cars’

range were exaggerated and that Musk manipulated the range meters to show false ranges, he

would not have purchased the vehicles or would have paid considerably less.




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       132.    Walid Yassir: Walid purchased a Tesla in Michigan in 2018.         His vehicle’s

driving range is far less than their advertised ranges and far less than the ranges displayed on

the range meters when fully charged. Had Walid known the car’s range was exaggerated and

that Musk manipulated the range meters to show a false range, he would not have purchased

the vehicle or would have paid considerably less.

       133.    Varsha Luthra: Varsha purchased a Tesla with her husband in Pennsylvania in

2023. Her vehicle’s driving range is far less than its advertised range and far less than the

range displayed on the range meter when fully charged. Had Varsha known the car’s range

was exaggerated and that Musk manipulated the range meters to show a false range, she

would not have purchased the vehicle or would have paid considerably less.

                          VI.    CLASS ACTION ALLEGATIONS

       134.    Plaintiffs bring this action on behalf of themselves and all others similarly

situated pursuant to Rule 23 of the Federal Rules of Civil Procedure.

       135.    Plaintiffs seek to represent a class of all persons in the United States who

purchased or leased a new or used Tesla subject to a “Motor Vehicle Order Agreement” with

the same or substantially similar terms as the Plaintiffs in this matter and did not opt out of

the arbitration term in that agreement within the applicable statutes of limitations preceding

the filing of this action through the date of certification.

       136.    Plaintiffs also seek to represent subclasses of all persons and/or consumers in

the states in which Plaintiffs purchased their Teslas who purchased a new or used Tesla

subject to a “Motor Vehicle Order Agreement” with the same or substantially similar terms

as the Plaintiffs in this matter and did not opt out of the arbitration term in that agreement




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within the applicable statutes of limitations preceding the filing of this action through the date

of certification.

       137.    Excluded from the Classes are (i) Elon Musk; (ii) any entity in which Elon

Musk has a controlling interest; (iii) the judicial officer(s) to whom this action is assigned; and

(iv) the immediate family members, legal representatives, heirs, successors, or assigns of any

party excluded under (i)–(iii).

       138.     Plaintiffs reserve the right to modify or amend the definition of the proposed

Classes and to add additional subclasses before this Court determines whether certification is

appropriate.

       139.    This action satisfies the numerosity, commonality, typicality, predominance,

adequacy, and superiority requirements of Rule 23.

       140.    As to numerosity: The parties are numerous such that joinder is impracticable.

Upon information and belief, and subject to class discovery, the Class consists of thousands

of members or more, the identities of whom can be readily identified by transaction records

of vehicle purchases and leases, which are not currently available to Plaintiffs.

       141.    As to commonality: The questions here are ones of common or general interest

such that there is a well-defined community of interest among Class members. These

questions predominate over questions that may affect only individual Class members because

Musk acted or failed to act on grounds generally applicable to the Class. Such common legal

or factual questions include, but are not limited to: (i) whether Musk engaged in the conduct

alleged herein (e.g., directly formulating and participating in a scheme to exaggerate the ranges

that Tesla vehicles could travel on a single charge and to inflate the drivable ranges displayed




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the range meter); (ii) whether Musk’s conduct was unfair and/or deceptive, and (iii) whether

Musk’s conduct caused Class members harm.

       142.    As to typicality: Plaintiffs’ claims are typical of the claims of the other members

of the Class in that they arise out of the same wrongful business practices by Musk, as

described herein. The evidence and the legal theories regarding Musk’s alleged wrongful

conduct committed against Plaintiffs and absent Class members are substantially the same

because the challenged practices are uniform for Plaintiffs and the Class members. For

example, Musk directed his engineering team to manipulate the range meter on all Tesla

vehicles. Accordingly, in pursuing their own interest in litigating the claims, Plaintiffs will

also serve the interests of the Class.

       143.    As to predominance: This matter is properly maintained as a class action under

Rule 23 because the common questions of law and fact identified herein and to be identified

through discovery predominate over questions that may affect only individual Class members.

       144.    As to adequacy: Plaintiffs are adequate representatives of the Class pursuant to

Rule 23 in that he is a Tesla owner and has suffered damages because of Musk’s deceptive

practices. Additionally, (i) Plaintiffs are committed to the vigorous prosecution of this action

on behalf of themselves and all others similarly situated; (ii) Plaintiffs have retained competent

counsel experienced in litigating class actions; (iii) there is no conflict of interest between

Plaintiffs and the unnamed members of the Class; (iv) Plaintiffs anticipate no difficulty in the

management of this litigation as a class action; and (v) Plaintiffs’ legal counsel has the

financial and legal resources to meet the substantial costs and address the legal issues

associated with this type of litigation.




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       145.    As to superiority: Class litigation is an appropriate method for the fair and

efficient adjudication of the claims involved. Class action treatment is superior to all other

available methods for the fair and efficient adjudication of the controversy alleged herein; it

will permit the numerous Class members to prosecute their common claims in a single forum

simultaneously, efficiently, and without the unnecessary duplication of evidence, effort, and

expense that hundreds of individual actions would require. Class action treatment will also

permit the adjudication of relatively modest claims by certain Class members, who could not

individually afford to litigate a complex claim against a wealthy defendant.

       146.    For these reasons, a class action is superior to other available methods for the

fair and efficient adjudication of this controversy.

                                      COUNT I
                        VIOLATIONS OF THE MASSACHUSETTS
                           CONSUMER PROTECTION ACT
                             Mass. Gen. Laws ch. 93A, § 11

       147.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs

as fully set forth herein.

       148.    Plaintiff Global Lease Group, Inc. and the Massachusetts Business Consumer

Class members bring this cause of action under the Massachusetts Consumer Protection Act,

Mass. Gen. Laws ch. 93A (“MCPA”). The MCPA prohibits unfair or deceptive acts or

practices in the conduct of any trade or commerce.

       149.    Plaintiff Global Lease Group, Inc., the Massachusetts Business Consumer

Class members, and Musk are “persons” as defined by the MCPA. Mass. Gen. Laws ch.

93A, § 1, and at all relevant times were engaged in trade or commerce.

       150.    At all relevant times, Musk and the Musk Trust were engaged in trade or

commerce.


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       151.     As set forth above, Musk engaged in unfair and deceptive acts in violation of

the MCPA, including by fraudulently misleading Plaintiff Global Lease Group, Inc. and the

Massachusetts Business Consumer Class members. Specifically, Musk violated the MCPA,

including by:

                •   Formulating and implementing a scheme to misrepresent the ranges that

                    Tesla vehicles can travel on a single charge;

                •   Formulating and implementing a scheme to omit disclosing to customers

                    that normal temperature fluctuations can dramatically reduce the driving

                    ranges of Tesla vehicles; and

                •   Formulating and implementing a scheme for Tesla vehicle range meters to

                    misrepresent driving ranges.

       152.     Musk’s misrepresentations and omissions were material because they impacted

central functions of Tesla vehicles, such as the ranges they can travel on a single charge and

the operation of the vehicles’ range meters.

       153.     Musk was under a duty to inform Plaintiff Global Lease Group, Inc. and the

Massachusetts Business Consumer Class members about the true nature and quality of vehicle

ranges.

       154.     Exaggerating the range, failing to disclose that the range can be reduced by

normal temperature fluctuations, and manipulating the range meters to display a false range

were deceptive and misleading and would influence a reasonable business consumer’s

decision to purchase a Tesla.

       155.     An objectively reasonable person engaged in business would have been

deceived by the above-described acts and omissions.



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       156.   Plaintiff Global Lease Group, Inc. and the Massachusetts Business Consumer

Class members suffered financial damages as a result of said unlawful conduct. Plaintiff

Global Lease Group, Inc. and the Massachusetts Business Consumer Class members were

further injured when some of the unlawful practices were uncovered, which drove down the

values of Tesla vehicles.

       157.   Had Plaintiff Global Lease Group, Inc. and the Massachusetts Business

Consumer Class members been adequately informed that the Tesla vehicles’ advertised ranges

were exaggerated, that normal temperature fluctuations can dramatically reduce the ranges

of those vehicles, and that the range meter displayed false ranges, they would have taken steps

to avoid damages by not purchasing the vehicles or paying less for the vehicles.

       158.   As a direct and proximate result of Musk’s violations of the MCPA, Plaintiff

Global Lease Group, Inc. and the Massachusetts Business Consumer Class members have

suffered injury-in-fact and/or actual damage.

       159.   Musk’s unfair and deceptive practices towards Plaintiff Global Lease Group,

Inc. and the Massachusetts Business Consumer Class members occurred primarily and

substantially within the Commonwealth of Massachusetts.

       160.   Musk’s deceptive acts were willful or knowing violations of the MCPA.

Therefore, Plaintiff Global Lease Group, Inc. and the Massachusetts Business Consumer

Class members are entitled to up to three but not less than two times actual damages.

       161.   The Massachusetts Business Consumer Class Members seek actual damages

and/or statutory damages, multiple actual damages, and attorneys’ fees and costs and all

other relief allowed under Massachusetts law.




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                                     COUNT II
                        VIOLATIONS OF THE MASSACHUSETTS
                           CONSUMER PROTECTION ACT
                             Mass. Gen. Laws ch. 93A, § 9

       163.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs

as fully set forth herein.

       164.    Plaintiff Eric Day brings this cause of action on behalf of members of the

Massachusetts Consumer Class pursuant to the Massachusetts Consumer Protection Act,

Mass. Gen. Laws ch. 93A (“MCPA”). The MCPA prohibits unfair or deceptive acts or

practices in the conduct of any trade or commerce.

       165.    Plaintiff Eric Day and the Massachusetts Consumer Class Members and Musk

are “persons” as defined by the MCPA. Mass. Gen. Laws ch. 93A, § 1.

       166.    At all relevant times, Musk and the Musk Trust were engaged in trade or

commerce.

       167.    As set forth above, Musk engaged in unfair and deceptive acts in violation of

the MCPA, including by fraudulently misleading Plaintiff Eric Day and the Massachusetts

Consumer Class members. Specifically, Musk violated the MCPA, including by:

               •   Formulating and implementing a scheme to misrepresent the ranges that

                   Tesla vehicles can travel on a single charge;

               •   Formulating and implementing a scheme to omit disclosing to customers

                   that normal temperature fluctuations can dramatically reduce the driving

                   ranges of Tesla vehicles; and

               •   Formulating and implementing a scheme for Tesla vehicle range meters to

                   misrepresent driving ranges.




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       168.     Musk’s misconduct was material because it impacted central functions of Tesla

vehicles such as the ranges they can travel on a single charge and the operation of the vehicles’

range meters.

       169.     Musk was under a duty to inform Plaintiff Eric Day and the Massachusetts

Class members about the true nature and quality of vehicle ranges.

       170.     Exaggerating vehicle ranges, failing to disclose that the ranges were affected by

normal temperature fluctuations, and manipulating the range meters to display false ranges

were deceptive and misleading and would influence a reasonable consumer’s decision to

purchase a Tesla.

       171.     An objectively reasonable consumer would have been deceived by the above-

described acts and omissions. Plaintiff Eric Day and the Massachusetts Consumer Class

members suffered financial damages as a result of said unlawful conduct. The Massachusetts

Class members were further injured when some of the unlawful practices were uncovered,

which drove down the values of Tesla vehicles.

       172.     Had Plaintiff Eric Day and the Massachusetts Consumer Class members been

adequately informed that the Tesla vehicles’ advertised ranges were exaggerated, that normal

temperature fluctuations can dramatically reduce the ranges of those vehicles, and that the

range meters displayed false ranges, they would have taken steps to avoid damages by not

purchasing the vehicles or paying less for the vehicles.

       173.     As a direct and proximate result of Musk’s violations of the MCPA, Plaintiff

Eric Day and the Massachusetts Consumer Class members have suffered injury-in-fact

and/or actual damage.




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       174.    Plaintiff Eric Day provided the required written demand to Defendants under

the MCPA, identifying the claimant and reasonably describing the unfair or deceptive act or

practice relied upon and the injury suffered, more than 30 days prior to filing this complaint.

Defendants responded without making a written tender of settlement.

       175.    Musk’s unfair and deceptive acts were willful or knowing violations of the

MCPA. In addition, Musk’s failure to make a timely and reasonable written tender of

settlement upon demand was in bad faith with knowledge that the practices complained of

violated Section 2 of the MCPA, Plaintiff Eric Day and the Massachusetts Consumer Class

Members are therefore entitled to up to three but not less than two times actual damages or

twenty-five dollars, whichever is greater.

       176.    Plaintiff Eric Day and the Massachusetts Consumer Class Members seek actual

damages and/or statutory damages, multiple actual damages, and attorneys’ fees and costs

and all other relief allowed under Massachusetts law.

                                      COUNT III
                        VIOLATIONS OF THE NEW HAMPSHIRE
                           CONSUMER PROTECTION ACT
                            N.H. Rev. Stat. §§ 358-A:1. et seq.

       177.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs

as fully set forth herein.

       178.    Plaintiff Giorgio Petruzziello brings this cause of action on behalf of members

of the New Hampshire Class pursuant to the New Hampshire Consumer Protection Act

(“NHCPA”), N.H. Rev. Stat. § 358-A:1, et seq.

       179.    Plaintiff Giorgio Petruzziello, the New Hampshire Class, and Musk are

“person[s]” under the NHCPA. N.H. Rev. Stat. § 358-A:1.




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       180.     At all relevant times, Musk and the Musk Trust were engaged in trade or

commerce. N.H. Rev. Stat. § 358-A:1.

       181.     The NHCPA prohibits a person, in the conduct of any trade or commerce, from

using “any unfair or deceptive act or practice,” including “but … not limited to, the following:

… (V) [r]epresenting that goods or services have … characteristics, … uses, benefits or

quantities that they do not have;” “(VII) [r]epresenting that goods or services are of a

particular standard, quality, or grade, … if they are of another;” and “(IX) [a]dvertising goods

or services with intent not to sell them as advertised.” N.H. Rev. Stat. § 358-A:2.

       182.     Musk violated the NHCPA by engaging in the conduct described above, which

constitutes unfair methods of competition, or unconscionable, deceptive, or unfair acts or

practices in the conduct of any trade or commerce. Specifically, Musk violated the NHCPA

by:

                •   Formulating and implementing a scheme to misrepresent the ranges that

                    Tesla vehicles can travel on a single charge;

                •   Formulating and implementing a scheme to omit disclosing to customers

                    that normal temperature fluctuations can dramatically reduce the driving

                    ranges of Tesla vehicles; and

                •   Formulating and implementing a scheme for Tesla vehicle range meters to

                    misrepresent driving ranges.

       183.     Musk’s misconduct was material because it impacted central functions of Tesla

vehicles such as the ranges they can travel on a single charge and the operation of the vehicles’

range meters.




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       184.   Musk was under a duty to inform the New Hampshire Class members about

the true nature and quality of vehicle ranges.

       185.   Exaggerating vehicle ranges, failing to disclose that the ranges were affected by

normal temperature fluctuations, and manipulating the range meters to display false ranges

were deceptive and misleading and would influence a reasonable consumer’s decision to

purchase a Tesla.

       186.   An objectively reasonable person would have been deceived by the above-

described acts and omissions. Plaintiff Giorgio Petruzziello and the New Hampshire Class

members suffered financial damages as a result of said unlawful conduct. Plaintiff Giorgio

Petruzziello and the New Hampshire Class Members were further injured when some of the

unlawful practices were uncovered, which drove down the values of Tesla vehicles.

       187.   Had Plaintiff Giorgio Petruzziello and the New Hampshire Class members

been adequately informed that the Tesla vehicles’ advertised ranges were exaggerated, that

normal temperature fluctuations dramatically reduce the ranges of those vehicles, and that

the range meter displayed false ranges, they would have taken steps to avoid damages by not

purchasing the vehicles or paying less for the vehicles.

       188.   As a direct and proximate result of Musk’s violations of the NHCPA, Plaintiff

Giorgio Petruzziello and the New Hampshire Class members have been injured in an amount

to be proven at trial. Alternatively, Plaintiff Giorgio Petruzziello and the New Hampshire

Class members are entitled to a refund for the amount they paid for their Tesla vehicles.




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       190.    Plaintiff Giorgio Petruzziello, on behalf of himself and the New Hampshire

Class members, seeks actual damages or $1,000, whichever is greater, treble damages,

punitive damages, a refund, and attorneys’ fees and costs, and all other relief allowed under

New Hampshire law. N.H. Rev. Stat. § 358-A:10.

                                      COUNT IV
                              VIOLATIONS OF THE MAINE
                             UNFAIR TRADE PRACTICES ACT
                                 5 M.R.S.A § 205-A et seq.

       191.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs

as fully set forth herein.

       192.    Plaintiff Eduard Chenette brings this cause of action on behalf of members of

the Maine Class pursuant to the Maine Unfair Trade Practices Act, 5 M.R.S.A. § 205-A, et

seq. (“MUTPA”).

       193.    Plaintiff Eduard Chenette and the Maine Class members are persons who

purchased Teslas primarily for personal, family, or household purposes within the meaning

of Section 213(1) of MUTPA.

       194.    At all relevant times, Musk and the Musk Trust were engaged in trade or

commerce as defined by Section 206(3) of the MUTPA.

       195.    The MUTPA prohibits “unfair or deceptive acts or practices in the conduct of

any trade or commerce.” 5 M.R.S.A. § 207.

       196.    Musk engaged in unlawful trade practices including, inter alia: (1) representing

that Teslas have characteristics, benefits, and qualities that it does not have; (2) representing

that Teslas are of a particular standard and quality when they are not; (3) advertising Teslas

with an intent not to sell them as advertised; and (4) otherwise engaging in conduct likely to

deceive.


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       197.     As set forth above, Musk engaged in unfair and deceptive acts in violation of

the MUTPA, including by fraudulently misleading Plaintiff Eduard Chenette and the Maine

Class members. Specifically, Musk violated the MUTPA, including by:

                •   Formulating and implementing a scheme to misrepresent the ranges that

                    Tesla vehicles can travel on a single charge;

                •   Formulating and implementing a scheme to omit disclosing to customers

                    that normal temperature fluctuations can dramatically reduce the driving

                    ranges of Tesla vehicles; and

                •   Formulating and implementing a scheme for Tesla vehicle range meters to

                    misrepresent driving ranges.

       198.     Musk’s misconduct was material because it impacted central functions of Tesla

vehicles such as the ranges they can travel on a single charge and the operation of the vehicles’

range meters.

       199.     Musk was under a duty to inform Plaintiff Eduard Chenette and the Maine

Class members about the true nature and quality of vehicle ranges.

       200.     Exaggerating vehicle ranges, failing to disclose that the ranges were affected by

normal temperature fluctuations, and manipulating the range meters to display false ranges

were deceptive and misleading and would influence a reasonable consumer’s decision to

purchase a Tesla.

       201.     An objectively reasonable person would have been deceived by the above-

described acts and omissions. Plaintiff Eduard Chenette and the Maine Class members

suffered financial damages as a result of said unlawful conduct. Plaintiff Eduard Chenette and




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the Maine Class members were further injured when some of the unlawful practices were

uncovered, which drove down the values of Tesla vehicles.

       202.    Had Plaintiff Eduard Chenette and the Maine Class members been adequately

informed that the Tesla vehicles' advertised ranges were exaggerated, that normal temperature

fluctuations dramatically reduce the ranges of those vehicles, and that the range meter

displayed false ranges, they would have taken steps to avoid damages by not purchasing the

vehicles or paying less for the vehicles.

       203.    As a direct and proximate result of Musk’s violations of the MUTPA, Plaintiff

Eduard Chenette and the Maine Class members have suffered injury-in-fact and/or actual

damage.

       204.    The unfair and deceptive acts and practices complained of herein were not

reasonably avoidable by consumers.

       205.    Plaintiff Eduard Chenette provided the required written demand for relief to

Defendants under the MUTPA, identifying Defendants and reasonably describing the unfair

and deceptive acts and practices at issue, mailed more than 30 days prior to filing this

complaint. Defendants failed to make a written tender of settlement or an offer of judgment.

       206.    Musk’s acts and practices, as outlined above, were willful and knowing.

       207.    Plaintiff Eduard Chenette and the Maine Class are entitled to recover actual

damages in an amount to be established at trial, restitution, restitution by way of full refunds

of the purchase price for all their purchases of Teslas and any other equitable relief, which the

Court determines to be necessary and proper pursuant to Section 213(1) of the MUTPA.




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       208.    Furthermore, in accordance with Section 213(2) of the MUTPA, Musk is liable

to Plaintiff Eduard Chenette and the Maine Class for reasonable attorneys' fees and costs

incurred in connection with this action.

       209.    The Maine Class Members seek actual damages, statutory damages, attorneys’

fees and costs, and all other relief allowed under Maine law.

                                      COUNT V
                      VIOLATIONS OF THE FLORIDA DECEPTIVE
                         AND UNFAIR TRADE PRACTICE ACT
                              Fla. Stat. § 501.201, et seq.

       210.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs

as fully set forth herein.

       211.    Plaintiffs William Wilson, Rajeev Talreja, and the Florida Class Members

bring this cause of action pursuant to the Florida Deceptive and Unfair Trade Practices Act,

Fla. Stat. § 501.201 et seq. (the “FDUTPA”). The stated purpose of FDUTPA is to “protect

the consuming public . . . from those who engage in unfair methods of competition, or

unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or

commerce.” Id. § 501.202(2).

       212.    Plaintiffs William Wilson, Rajeev Talreja, and the Florida Class Members are

“consumers” and the transactions at issue in this Complaint constitute “trade or commerce”

as defined by FDUTPA. See id. § 501.203(7)-(8).

       213.    At all relevant times, Musk and the Musk Trust were engaged in trade or

commerce.

       214.    FDUTPA declares unlawful “[u]nfair methods of competition, unconscionable

acts or practices, and unfair or deceptive acts or practices in the conduct of any trade or

commerce.” Id. § 501.204(1).


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       215.     Musk violated FDUTPA by engaging in the conduct described above, which

constitutes unfair methods of competition, or unconscionable, deceptive, or unfair acts or

practices in the conduct of any trade or commerce.

       216.     In violation of FDUTPA, Musk employed fraud, deception, false promise, and

the knowing concealment, suppression, or omission of material facts in the sale and

advertisement of Tesla vehicles in the State of Florida. Specifically, Musk violated FDUTPA,

including by:

                •   Formulating and implementing a scheme to misrepresent the ranges that

                    Tesla vehicles can travel on a single charge;

                •   Formulating and implementing a scheme to omit disclosing to customers

                    that normal temperature fluctuations can dramatically reduce the driving

                    ranges of Tesla vehicles; and

                •   Formulating and implementing a scheme for Tesla vehicle range meters to

                    misrepresent driving ranges.

       217.     Musk’s misconduct was material because it impacted central functions of Tesla

vehicles such as the ranges they can travel on a single charge and the operation of the vehicles’

range meters.

       218.     Musk was under a duty to inform the Florida Class members about the true

nature and quality of vehicle ranges.

       219.     Exaggerating vehicle ranges, failing to disclose that the ranges were affected by

normal temperature fluctuations, and manipulating the range meters to display false ranges

were deceptive and misleading and would influence a reasonable consumer’s decision to

purchase a Tesla.



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       220.    An objectively reasonable person would have been deceived by the above-

described acts and omissions. Plaintiffs William Wilson, Rajeev Talreja, and the Florida

Class Members suffered financial damages as a result of said unlawful conduct. Plaintiffs

William Wilson, Rajeev Talreja, and the Florida Class Members were further injured when

some of the unlawful practices were uncovered, which drove down the values of Tesla

vehicles.

       221.    Had Plaintiffs William Wilson, Rajeev Talreja, and the Florida Class Members

been adequately informed that the Tesla vehicles’ advertised ranges were exaggerated, that

normal temperature fluctuations dramatically reduce the ranges of those vehicles, and that

the range meter displayed false ranges, they would have taken steps to avoid damages by not

purchasing the vehicles or paying less for the vehicles.

       222.    As a direct and proximate result of Musk’s violations of the FDUTPA,

Plaintiffs William Wilson, Rajeev Talreja, and the Florida Class Members have been injured

in an amount to be proven at trial.

       223.    Plaintiffs William Wilson and Rajeev Talreja, on behalf of themselves and the

Florida Class Members, seek actual damages, punitive damages, attorneys’ fees and costs,

and all other relief allowed under Florida law.

                                  COUNT VI
                 VIOLATIONS OF THE ILLINOIS CONSUMER FRAUD
                    AND DECEPTIVE BUSINESS PRACTICES ACT
                                815 ILCS § 505/1

       224.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs

as fully set forth herein.




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       225.   Plaintiff Prudhvi Samudrala and the Illinois Class Members bring this cause of

action pursuant to the Illinois Consumer Fraud and Deceptive Business Practices Act, 815

ILCS § 505/1 (“ICFA”).

       226.   The ICFA prohibits unfair or deceptive acts or practices in the conduct of any

trade or commerce, including among others, “the use or employment of any deception, fraud,

false pretense, false promise, misrepresentation or the concealment, suppression or omission

of any material fact, . . . whether any person has in fact been misled, deceived, or damaged

thereby.” 815 Ill. Comp. Stat. § 505/2. It further prohibits suppliers from representing that

their goods are of a particular quality or grade that they are not.

       227.   Plaintiff Prudhvi Samudrala and the Illinois Class Members are “consumers”

as defined by 815 Ill. Comp. Stat. § 505/1(e).

       228.   Musk and the Musk Trust are “person[s]” as defined in 815 Ill. Comp. Stat. §

505/1(c).

       229.   At all relevant times, Musk and the Musk Trust were engaged in trade or

commerce.

       230.   Tesla vehicles are “merchandise” as defined in 815 Ill. Comp. Stat. S 505/1(b).

       231.   Musk engaged in unfair or deceptive acts or practices as defined in 815 Ill.

Comp. Stat. § 505/2, including by:

              •   Formulating and implementing a scheme to misrepresent the ranges that

                  Tesla vehicles can travel on a single charge;

              •   Formulating and implementing a scheme to omit disclosing to customers

                  that normal temperature fluctuations can dramatically reduce the driving

                  ranges of Tesla vehicles; and



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                •   Formulating and implementing a scheme for Tesla vehicle range meters to

                    misrepresent driving ranges.

       232.     Musk’s misconduct was material because it impacted central functions of Tesla

vehicles such as the ranges they can travel on a single charge and the operation of the vehicles’

range meters.

       233.     Musk was under a duty to Plaintiff Prudhvi Samudrala and the Illinois Class

members about the true nature and quality of vehicle ranges.

       234.     Exaggerating vehicle ranges, failing to disclose that the ranges were affected by

normal temperature fluctuations, and manipulating the range meters to display false ranges

were deceptive and misleading and would influence a reasonable consumer’s decision to

purchase a Tesla.

       235.     An objectively reasonable person would have been deceived by the above-

described acts and omissions. Plaintiff Prudhvi Samudrala and the Illinois Class Members

suffered financial damages as a result of said unlawful conduct. Plaintiff Prudhvi Samudrala

and the Illinois Class Members were further injured when some of the unlawful practices were

uncovered, which drove down the values of Tesla vehicles.

       236.     Had Plaintiff Prudhvi Samudrala and the Illinois Class Members been

adequately informed that the Tesla vehicles’ advertised ranges were exaggerated, that normal

temperature fluctuations dramatically reduce the ranges of those vehicles, and that the range

meter displayed false ranges, they would have taken steps to avoid damages by not purchasing

the vehicles or paying less for the vehicles.




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       237.     As a direct and proximate result of Musk’s violations of the ICFA, Plaintiff

Prudhvi Samudrala and the Illinois Class Members have been injured in an amount to be

proven at trial.

       238.     Plaintiff Prudhvi Samudrala, on behalf of himself and the Illinois Class

Members, seeks actual damages, punitive damages, attorneys’ fees and costs, and all other

relief allowed under Illinois law.

                               COUNT VII
        VIOLATIONS OF THE NEW YORK GENERAL BUSINESS LAW § 349
             FOR UNFAIR AND DECEPTIVE TRADE PRACTICES
                         N.Y. Gen. Bus. Law § 349

       239.     Plaintiffs incorporate by reference all allegations of the preceding paragraphs

as fully set forth herein.

       240.     Plaintiff Rajeev Talreja and the New York Class Members bring this cause of

action under N.Y. Gen. Bus. Law § 349 (“GBL § 349”).

       241.     At all relevant times, Musk and the Musk Trust were engaged in trade or

commerce.

       242.     The sale and distribution of the Tesla vehicles in New York was a consumer-

oriented act within the meaning of GBL § 349.

       243.     GBL § 349 declares unlawful “[d]eceptive acts or practices in the conduct of

any business, trade or commerce or in the furnishing of any service[.]”

       244.     Musk engaged in unfair or deceptive acts or practices as defined in GBL § 349,

including by:

                •   Formulating and implementing a scheme to misrepresent the ranges that

                    Tesla vehicles can travel on a single charge;




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                •   Formulating and implementing a scheme to omit disclosing to customers

                    that normal temperature fluctuations can dramatically reduce the driving

                    ranges of Tesla vehicles; and

                •   Formulating and implementing a scheme for Tesla vehicle range meters to

                    misrepresent driving ranges.

       245.     Musk’s misconduct was material because it impacted central functions of Tesla

vehicles such as the ranges they can travel on a single charge and the operation of the vehicles’

range meters.

       246.     Musk was under a duty to inform Plaintiff Rajeev Talreja and the New York

Class Members about the true nature and quality of vehicle ranges.

       247.     Exaggerating vehicle ranges, failing to disclose that the ranges were affected by

normal temperature fluctuations, and manipulating the range meters to display false ranges

were deceptive and misleading and would influence a reasonable consumer’s decision to

purchase a Tesla.

       248.     An objectively reasonable person would have been deceived by the above-

described acts and omissions. Plaintiff Rajeev Talreja and the New York Class Members

suffered financial damages as a result of said unlawful conduct. Plaintiff Rajeev Talreja and

the New York Class Members were further injured when some of the unlawful practices were

uncovered, which drove down the values of Tesla vehicles.

       249.     Had Plaintiff Rajeev Talreja and the New York Class Members been

adequately informed that the Tesla vehicles’ advertised ranges were exaggerated, that normal

temperature fluctuations dramatically reduce the ranges of those vehicles, and that the range




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meter displayed false ranges, they would have taken steps to avoid damages by not purchasing

the vehicles or paying less for the vehicles.

       250.    As a direct and proximate result of Musk’s violations of the GBL § 349, Plaintiff

Rajeev Talreja and the New York Class Members have been injured in an amount to be

proven at trial.

       251.    Plaintiff Rajeev Talreja, on behalf of himself and the New York Class

Members, seeks actual damages, punitive damages, attorneys’ fees and costs, and all other

relief allowed under New York law.

                              COUNT VIII
        VIOLATIONS OF THE NEW YORK GENERAL BUSINESS LAW § 350
                        FOR FALSE ADVERTISING

       252.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs

as fully set forth herein.

       253.    Plaintiff Rajeev Talreja and the New York Class Members bring this cause of

action pursuant to GBL § 350, which prohibits “[f]alse advertising in the conduct of any

business, trade or commerce or in the furnishing of any service[.]” The statute defines false

advertising as “advertising, including labeling, of a commodity . . . [that is] misleading in a

material respect.” N.Y. Gen. Bus. Law § 350-a.

       254.    At all relevant times, Musk and the Musk Trust were engaged in trade or

commerce.

       255.    Musk’s conduct, described above, qualifies as “false advertising” within the

meaning of GBL § 350 because he publicly disseminates materially misleading statements,

labeling, and information regarding the capabilities, including the range, of Tesla vehicles

through advertising, marketing, labeling, packaging, and other representations.



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       256.     Musk violated GBL § 350 by overstating the range of Tesla vehicles in online

advertisements, failing to disclose that normal temperature fluctuations reduce that range,

and that he manipulated the range meter to display a false range.

       257.     Musk’s misrepresentations and omissions were material because they impact

central functions of electric vehicles, like the range they could travel on a single charge and

the operation of the vehicles’ range meter. Had Plaintiff Rajeev Talreja and the New York

Class Members known that the range was exaggerated, that normal temperature fluctuations

dramatically reduce the range, and that the range meter was manipulated to display a false

range, they would not have purchased the Tesla vehicles or paid less for them.

       258.     Plaintiff Rajeev Talreja and the New York Class Members have suffered lost or

diminished use, enjoyment, and utility of their Tesla vehicles resulting from Musk’s violations

of GBL § 350.

       259.     Through this conduct, Musk has engaged in false advertising and violated GBL

§ 350, and such violations injured Plaintiff Rajeev Talreja and the New York Class Members.

Plaintiff Rajeev Talreja, on behalf of himself and the New York Class members, seeks actual

damages or $500 per violation, whichever is greater, by Musk.

       260.     Through his conduct, Musk willfully or knowingly engaged in false advertising,

including through his omissions. Accordingly, a punitive award is appropriate, such that the

damages be increased in an amount three times actual damages up to ten thousand dollars

($10,000), for each of Musk’s violations.




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                             COUNT IX
                  VIOLATIONS OF THE PENNSYLVANIA
       UNFAIR TRADE PRACTICES AND CONSUMER PROTECTION LAW
                            73 P.S. § 201-1

       261.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs

as fully set forth herein.

       262.    Plaintiff Varsha Luthra brings this cause of action on behalf of members of the

Pennsylvania Class pursuant to the Pennsylvania Unfair Trade Practices and Consumer

Protection Law, which prohibits unfair or deceptive acts or practices in the conduct of any

trade or commerce, including among others, “[r]epresenting that goods or services are of a

particular standard, quality or grade . . . if they are of another,” “[r]epresenting that goods or

services have . . . characteristics . . . that they do not have and “[a]dvertising goods or services

with intent not to sell them as advertised[.]” 73 P.S. § 201-2

       263.    Plaintiff Varsha Luthra and the Pennsylvania Class Members and Musk are

“person[s]” as defined by the statute.

       264.    At all relevant times, Musk and the Musk Trust were engaged in trade or

commerce.

       265.    Musk engaged in unfair or deceptive acts or practices as defined in 73 P.S. §

201-2, including by:

               •   Formulating and implementing a scheme to misrepresent the ranges that

                   Tesla vehicles can travel on a single charge;

               •   Formulating and implementing a scheme to omit disclosing to customers

                   that normal temperature fluctuations can dramatically reduce the driving

                   ranges of Tesla vehicles; and




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                •   Formulating and implementing a scheme for Tesla vehicle range meters to

                    misrepresent driving ranges.

       266.     Musk’s misconduct was material because it impacted central functions of Tesla

vehicles such as the ranges they can travel on a single charge and the operation of the vehicles’

range meters.

       267.     Musk was under a duty to inform Plaintiff Varsha Luthra and the Pennsylvania

Class members about the true nature and quality of vehicle ranges.

       268.     Exaggerating vehicle ranges, failing to disclose that the ranges were affected by

normal temperature fluctuations, and manipulating the range meters to display false ranges

were deceptive and misleading and would influence a reasonable consumer’s decision to

purchase a Tesla.

       269.     An objectively reasonable person would have been deceived by the above-

described acts and omissions. Plaintiff Varsha Luthra and the Pennsylvania Class Members

suffered financial damages as a result of said unlawful conduct. Plaintiff Varsha Luthra and

the Pennsylvania Class Members were further injured when some of the unlawful practices

were uncovered, which drove down the values of Tesla vehicles.

       270.     Had Plaintiff Varsha Luthra and the Pennsylvania Class Members been

adequately informed that the Tesla vehicles’ advertised ranges were exaggerated, that normal

temperature fluctuations dramatically reduce the ranges of those vehicles, and that the range

meter displayed false ranges, they would have taken steps to avoid damages by not purchasing

the vehicles or paying less for the vehicles.




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       271.    As a direct and proximate result of Musk’s violations of 73 P.S. § 201, Plaintiff

Varsha Luthra and the Pennsylvania Class Members have been injured in an amount to be

proven at trial.

       272.    Because Musk’s deceptive acts were willful or knowing violations of 73 P.S. §

201, Plaintiff Varsha Luthra and the Pennsylvania Class Members are entitled to up to three

times actual damages sustained and not less than $100, whichever is greater. 73 P.S. § 201-

9.2. Alternatively, Plaintiff Varsha Luthra and the Pennsylvania Class Members are entitled

to up to actual damages or $100, whichever is greater.

       273.    Plaintiff Varsha Luthra and the Pennsylvania Class Members seek actual

damages, statutory damages, attorneys’ fees and costs, and all other relief allowed under

Pennsylvania law.

                                        COUNT X
                             VIOLATIONS OF THE NEW JERSEY
                                 CONSUMER FRAUD ACT
                                    N.J. STAT. § 56:8-1

       274.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs

as fully set forth herein.

       275.    This cause of action is brought on behalf of members of the New Jersey Class

pursuant to the New Jersey Consumer Fraud Act, N.J. Stat. § 56:8-1 et seq. (“NJCFA”).

       276.    The New Jersey Class are “person[s]” and “consumer[s]” and Musk and the

Musk Trust are “Person[s]” engaged in the sale of merchandise. N.J. Stat. § 56:8-1(d), (e).

       277.    NJCFA prohibits “any unconscionable commercial practice, deception, fraud,

false pretense, false promise, misrepresentation, or the knowing, concealment, suppression,

or omission of any material fact with intent that others rely upon such concealment,

suppression or omission, in connection with the sale or advertisement of any merchandise or


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real estate, or with the subsequent performance of such person aforesaid, whether or not any

person has in fact been misled, deceived or damaged thereby, is declared to be an unlawful

practice” N.J. Stat. § 56:8-2.

       278.     Musk violated NJCFA by engaging in the conduct described above, which

constitutes unfair methods of competition, or unconscionable, deceptive, or unfair acts or

practices in the conduct of any trade or commerce. Specifically, Musk violated the NJCFA

by:

                •   Formulating and implementing a scheme to misrepresent the ranges that

                    Tesla vehicles can travel on a single charge;

                •   Formulating and implementing a scheme to omit disclosing to customers

                    that normal temperature fluctuations can dramatically reduce the driving

                    ranges of Tesla vehicles; and

                •   Formulating and implementing a scheme for Tesla vehicle range meters to

                    misrepresent driving ranges.

       279.     Musk’s misconduct was material because it impacted central functions of Tesla

vehicles such as the ranges they can travel on a single charge and the operation of the vehicles’

range meters.

       280.     Musk was under a duty to inform the New Jersey Class members about the

true nature and quality of vehicle ranges.

       281.     Exaggerating vehicle ranges, failing to disclose that the ranges were affected by

normal temperature fluctuations, and manipulating the range meters to display false ranges

were deceptive and misleading and would influence a reasonable consumer’s decision to

purchase a Tesla.



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       282.    An objectively reasonable person would have been deceived by the above-

described acts and omissions. The New Jersey Class members suffered financial damages as

a result of said unlawful conduct. The New Jersey Class Members were further injured when

some of the unlawful practices were uncovered, which drove down the values of Tesla

vehicles.

       283.    The New Jersey Class members have been adequately informed that the Tesla

vehicles’ advertised ranges were exaggerated, that normal temperature fluctuations

dramatically reduce the ranges of those vehicles, and that the range meter displayed false

ranges, they would have taken steps to avoid damages by not purchasing the vehicles or

paying less for the vehicles.

       284.    As a direct and proximate result of Musk’s violations of the NJCFA, the New

Jersey Class members have been injured in an amount to be proven at trial. The New Jersey

Class members are entitled to a refund for the amount they paid for their Tesla vehicles. N.J.

STAT. § 56:8-2.12.

       285.    The New Jersey Class members seek actual damages, statutory damages,

punitive damages, a refund, attorneys’ fees and costs, and all other relief allowed under New

Jersey law.

                                        COUNT XI
                             VIOLATIONS OF THE CALIFORNIA
                             CONSUMER LEGAL REMEDIES ACT
                                   Cal. Civ. Code § 1750

       286.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs

as fully set forth herein.




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       287.     Plaintiff Karen Kyutukyan brings this cause of action on behalf of members of

the California Class pursuant to the California Consumer Legal Remedies Act (“CLRA”).

Cal. Civ. Code § 1750.

       288.     Plaintiff Karen Kyutukyan and the California Class members are “consumers”

as defined by the CLRA.

       289.     Musk is a “person[s]” as defined by the CLRA.

       290.     The CLRA prohibits unfair or deceptive acts or practices in the sale or lease of

goods, including among others, “[r]epresenting that goods or services are of a particular

standard, quality or grade . . . if they are of another,” “[r]epresenting that goods or services

have . . . characteristics . . . that they do not have,” and “[a]dvertising goods or services with

intent not to sell them as advertised[.]” Cal. Civ. Code § 1770.

       291.     Musk engaged in unfair or deceptive acts or practices as defined by the CLRA,

including:

                •   Formulating and implementing a scheme to misrepresent the ranges that

                    Tesla vehicles can travel on a single charge;

                •   Formulating and implementing a scheme to omit disclosing to customers

                    that normal temperature fluctuations can dramatically reduce the driving

                    ranges of Tesla vehicles; and

                •   Formulating and implementing a scheme for Tesla vehicle range meters to

                    misrepresent driving ranges.

       292.     Musk’s misconduct was material because it impacted central functions of Tesla

vehicles such as the ranges they can travel on a single charge and the operation of the vehicles’

range meters.



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       293.     Musk was under a duty to inform the California Class members about the

true nature and quality of vehicle ranges.

       294.     Exaggerating vehicle ranges, failing to disclose that the ranges were affected by

normal temperature fluctuations, and manipulating the range meters to display false ranges

were deceptive and misleading and would influence a reasonable consumer’s decision to

purchase a Tesla.

       295.     An objectively reasonable person would have been deceived by the above-

described acts and omissions. Plaintiff Karen Kyutukyan and the California Class Members

suffered financial damages as a result of said unlawful conduct. Plaintiff Karen Kyutukyan

and the California Class Members were further injured when some of the unlawful practices

were uncovered, which drove down the values of Tesla vehicles.

       296.     Had Plaintiff Karen Kyutukyan and the California Class Members been

adequately informed that the Tesla vehicles’ advertised ranges were exaggerated, that normal

temperature fluctuations dramatically reduce the ranges of those vehicles, and that the range

meter displayed false ranges, they would have taken steps to avoid damages by not purchasing

the vehicles or paying less for the vehicles.

       297.     Plaintiff Karen Kyutukyan provided the required written notice to Defendants

under the CLRA, identifying the claimant and reasonably describing the methods, acts, or

practices declared unlawful by the CLRA, more than 30 days prior to filing this complaint.

Defendants responded without offering an appropriate correction, repair, replacement, or

other remedy.




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        298.     As a direct and proximate result of Musk’s violations of CLRA, Plaintiff Karen

Kyutukyan and the California Class Members have been injured in an amount to be proven

at trial.

        299.     Plaintiff Karen Kyutukyan and the California Class Members are entitled to

actual damages, not less than $1,000 and punitive damages.

        300.     Plaintiff Karen Kyutukyan and the California Class Members seek actual

damages, statutory damages, attorneys’ fees and costs, and all other relief allowed under

California law.

                                         COUNT XII
                             VIOLATIONS OF THE CALIFORNIA
                               UNFAIR COMPETITION LAW
                                Cal. Bus. & Prof. Code § 17200

        301.     Plaintiffs incorporate by reference all allegations of the preceding paragraphs

as fully set forth herein.

        302.     Plaintiff Karen Kyutukyan and the California Class Members bring this cause

of action pursuant to the California Unfair Competition Law (“UCL”), which prohibits “unfair

competition,” including any “unlawful, unfair or fraudulent business act or practice” and “unfair,

deceptive, untrue or misleading advertising.” Cal. Bus. & Prof. Code § 17200.

        303.     As set forth above, Musk engaged in unfair competition and “unfair, deceptive,

untrue or misleading advertising,” in violation of the UCL, including by exaggerating the range

of Tesla vehicles, failing to disclose that the range was dramatically reduced by normal

temperature fluctuations, and manipulating the range meter on those vehicles to display a

false range.




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       304.    Musk’s practices are unlawful because they violate California Civil Code §§

1668, 1709, 1710, and 1750, and California Commercial Code § 2313, various other laws as

described herein.

       305.    As a direct and proximate result of Musk’s violations of the Cal. Bus. & Prof. Code

§ 17200, Plaintiff Karen Kyutukyan, on behalf of herself and the California Class Members have

been injured in an amount to be proven at trial.

       306.    Plaintiff Karen Kyutukyan, on behalf of herself and the California Class

Members, seeks actual damages and/or restitutionary disgorgement of all monies and

revenues generated as a result of Musk’s violation of the UCL, along with all other relief

allowed under the UCL and California law.

                                          COUNT XIII
                             VIOLATIONS OF THE CALIFORNIA
                                 FALSE ADVERTISING LAW
                              Cal. Bus. & Prof. Code § 17500, et seq.

       307.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs

as fully set forth herein.

       308.    Plaintiff Karen Kyutukyan and the California Class Members bring this cause

of action pursuant to California’s False Advertising Law (“FAL”), which makes it unlawful

for “any person,… with intent directly or indirectly to dispose of real or personal property…

or to induce the public to enter into any obligation relating thereto, to make or disseminate or

cause to be made or disseminated before the public in this state, or to make or disseminate or

cause to be made or disseminated from this state before the public in any state, in any

newspaper or other publication, or any advertising device, or by public outcry or

proclamation, or in any other manner or means whatever, including over the Internet, any

statement, concerning that real or personal property… or concerning any circumstance or


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matter of fact connected with the proposed performance or disposition thereof, which is

untrue or misleading, and which is known, or which by the exercise of reasonable care should

be known, to be untrue or misleading.” Cal. Bus. & Prof. Code § 17500.

       309.    As set forth above, Musk made, caused to be made, and disseminated through

California and the United States, through advertising, marketing, publications, public outcry,

and proclamation, statements that were untrue or misleading, and which were known, or

which by the exercise of reasonable care Musk should have known to be untrue and

misleading to consumers, including Plaintiffs and other Class members.

       310.    Musk’s practices are unlawful because they violate Cal. Bus. & Prof. Code

§ 17500.

       311.    A reasonable person would rely on Musk’s misrepresentations and material

omissions.

       312.    As a direct and proximate result of Musk’s violations of the Cal. Bus. & Prof.

Code § 17500, Plaintiff Karen Kyutukyan, on behalf of herself and the California Class

Members have been injured in an amount to be proven at trial.

       313.    Plaintiff Karen Kyutukyan, on behalf of herself and the California Class

Members, seeks actual damages and/or restitutionary disgorgement of all monies and

revenues generated as a result of Musk’s violation of the FAL, along with all other relief

allowed under the FAL and California law.

                                         COUNT XIV
                             VIOLATIONS OF THE WASHINGTON
                               CONSUMER PROTECTION ACT
                               Wash. Rev. Code § 19.86.010, et seq.

       314.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs

as fully set forth herein.


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       315.     Plaintiff Chris Watkins and the Washington Class Members bring this cause of

action under the Washington Consumer Protection Act (“Washington CPA”). Wash. Rev.

Code § 19.86.010, et seq.

       316.     Plaintiff Chris Watkins, the Washington Class Members, and Musk are

“persons[s]” within the meaning of Wash. Rev. Code § 19.86.010(2).

       317.     At all relevant times, Musk and the Musk Trust were engaged in trade or

commerce within the meaning of the Washington CPA.

       318.     The Washington CPA prohibits “[u]nfair methods of competition and unfair

or deceptive acts or practices in the conduct of any trade or commerce.” Wash. Rev. Code

§ 19.86.020.

       319.     Musk engaged in unfair or deceptive acts or practices that violated the

Washington CPA by:

                •   Formulating and implementing a scheme to misrepresent the ranges that

                    Tesla vehicles can travel on a single charge;

                •   Formulating and implementing a scheme to omit disclosing to customers

                    that normal temperature fluctuations can dramatically reduce the driving

                    ranges of Tesla vehicles; and

                •   Formulating and implementing a scheme for Tesla vehicle range meters to

                    misrepresent driving ranges.

       320.     Musk’s misconduct was material because it impacted central functions of Tesla

vehicles such as the ranges they can travel on a single charge and the operation of the vehicles’

range meters.




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       321.    Musk was under a duty to inform Plaintiff Chris Watkins and the Washington

Class members about the true nature and quality of vehicle ranges.

       322.    Exaggerating vehicle ranges, failing to disclose that the ranges were affected by

normal temperature fluctuations, and manipulating the range meters to display false ranges

were deceptive and misleading and would influence a reasonable consumer’s decision to

purchase a Tesla.

       323.    An objectively reasonable person would have been deceived by the above-

described acts and omissions. Plaintiff Chris Watkins and the Washington Class Members

suffered financial damages as a result of said unlawful conduct. Plaintiff Chris Watkins and

the Washington Class Members were further injured when some of the unlawful practices

were uncovered, which drove down the values of Tesla vehicles.

       324.    Had Plaintiff Chris Watkins and the Washington Class Members been

adequately informed that the Tesla vehicles’ advertised ranges were exaggerated, that normal

temperature fluctuations dramatically reduce the ranges of those vehicles, and that the range

meter displayed false ranges, they would have taken steps to avoid damages by not purchasing

the vehicles or paying less for the vehicles.

       325.    As a direct and proximate result of Musk’s violations of the Washington CPA,

Plaintiff Chris Watkins and the Washington Class Members have been injured in an amount

to be proven at trial.

       326.    Because Musk’s deceptive acts were willful or knowing violations of the

Washington CPA, Plaintiff Chris Watkins and the Washington Class Members are entitled

to up to three times actual damages sustained. Wash. Rev. Code § 19.86.090.




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       327.    Plaintiff Chris Watkins and the Washington Class Members seek actual

damages, statutory damages, attorneys’ fees and costs, and all other relief allowed under

Washington law.

                                        COUNT XV
                             VIOLATIONS OF THE KENTUCKY
                              CONSUMER PROTECTION ACT
                                Ky. Rev. Stat. § 367.110, et seq.

       328.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs

as fully set forth herein.

       329.    Plaintiff Drew Talreja and the Kentucky Class members bring this action

pursuant to the Kentucky Consumer Protection Act (“Kentucky CPA”), which prohibits

“[u]nfair, false, misleading, or deceptive acts or practices in the conduct of any trade or

commerce ...” Ky. Rev. Stat. § 367.170(1).

       330.    Plaintiff Drew Talreja, the Kentucky Class Members, and Musk are

“persons[s]” within the meaning of Ky. Rev. Stat. § 367.170(1).

       331.    At all relevant times, Musk and the Musk Trust were engaged in trade or

commerce within the meaning of the Kentucky CPA. Ky. Rev. Stat. Ann. § 367.110(2).

       332.    Musk engaged in unfair, false, misleading, or deceptive acts or practices that

violated the Kentucky CPA by:

               •   Formulating and implementing a scheme to misrepresent the ranges that

                   Tesla vehicles can travel on a single charge;

               •   Formulating and implementing a scheme to omit disclosing to customers

                   that normal temperature fluctuations can dramatically reduce the driving

                   ranges of Tesla vehicles; and




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                •   Formulating and implementing a scheme for Tesla vehicle range meters to

                    misrepresent driving ranges.

       333.     Musk’s misconduct was material because it impacted central functions of Tesla

vehicles such as the ranges they can travel on a single charge and the operation of the vehicles’

range meters.

       334.     Musk was under a duty to inform Plaintiff Drew Talreja and the Kentucky

Class members about the true nature and quality of vehicle ranges.

       335.     Exaggerating vehicle ranges, failing to disclose that the ranges were affected by

normal temperature fluctuations, and manipulating the range meters to display false ranges

were deceptive and misleading and would influence a reasonable consumer’s decision to

purchase a Tesla.

       336.     An objectively reasonable person would have been deceived by the above-

described acts and omissions. Plaintiff Drew Talreja and the Kentucky Class members

suffered financial damages as a result of said unlawful conduct. Plaintiff Drew Talreja and

the Kentucky Class members were further injured when some of the unlawful practices were

uncovered, which drove down the values of Tesla vehicles.

       337.     Had Plaintiff Drew Talreja and the Kentucky Class members been adequately

informed that the Tesla vehicles’ advertised ranges were exaggerated, that normal

temperature fluctuations can dramatically reduce the ranges of those vehicles, and that the

range meters displayed false ranges, they would have taken steps to avoid damages by not

purchasing the vehicles or paying less for the vehicles.




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       338.    As a direct and proximate result of Musk’s violations of the Kentucky CPA,

Plaintiff Drew Talreja and the Kentucky Class members have suffered injury-in-fact and/or

actual damage.

       339.    Plaintiff Drew Talreja and the Kentucky Class members seek actual damages,

statutory damages, attorneys’ fees and costs, and all other relief allowed under Kentucky law.

                                      COUNT XVI
                             VIOLATIONS OF THE MICHIGAN
                              CONSUMER PROTECTION ACT
                             Mich. Comp. Laws § 445.901, et. seq.

       340.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs

as fully set forth herein.

       341.    Plaintiff Walid Yassir and the Michigan Class members bring this action

pursuant to the Michigan Consumer Protection Act (“Michigan CPA”), which prohibits

“[u]nfair, unconscionable, or deceptive methods, acts, or practices in the conduct of trade or

commerce[.]” Mich. Comp. Laws Ann. § 445.903.

       342.    Plaintiff Walid Yassir and the Michigan Class members, and Musk are

“persons[s]” within the meaning of Mich. Comp. Laws § 445.902(1)(d).

       343.    At all relevant times, Musk and the Musk Trust were engaged in trade or

commerce within the meaning of the Michigan CPA. Mich. Comp. Laws § 445.902(1)(g).

       344.    Musk engaged in unfair, false, misleading, or deceptive acts or practices that

violated the Michigan CPA by:

               •   Formulating and implementing a scheme to misrepresent the ranges that

                   Tesla vehicles can travel on a single charge;




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                •   Formulating and implementing a scheme to omit disclosing to customers

                    that normal temperature fluctuations can dramatically reduce the driving

                    ranges of Tesla vehicles; and

                •   Formulating and implementing a scheme for Tesla vehicle range meters to

                    misrepresent driving ranges.

       345.     Musk’s misconduct was material because it impacted central functions of Tesla

vehicles such as the ranges they can travel on a single charge and the operation of the vehicles’

range meters.

       346.     Musk was under a duty to inform Plaintiff Walid Yassir and the Michigan Class

members about the true nature and quality of vehicle ranges.

       347.     Exaggerating vehicle ranges, failing to disclose that the ranges were affected by

normal temperature fluctuations, and manipulating the range meters to display false ranges

were deceptive and misleading and would influence a reasonable consumer’s decision to

purchase a Tesla.

       348.     An objectively reasonable person would have been deceived by the above-

described acts and omissions. Plaintiff Walid Yassir and the Michigan Class members

suffered financial damages as a result of said unlawful conduct. Plaintiff Walid Yassir and

the Michigan Class members were further injured when some of the unlawful practices were

uncovered, which drove down the values of Tesla vehicles.

       349.     Had Plaintiff Walid Yassir and the Michigan Class members been adequately

informed that the Tesla vehicles’ advertised ranges were exaggerated, that normal

temperature fluctuations can dramatically reduce the ranges of those vehicles, and that the




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range meters displayed false ranges, they would have taken steps to avoid damages by not

purchasing the vehicles or paying less for the vehicles.

       350.    As a direct and proximate result of Musk’s violations of the Michigan CPA,

Plaintiff Walid Yassir and the Michigan Class members have suffered injury-in-fact and/or

actual damage.

       351.    Plaintiff Walid Yassir and the Michigan Class members seek actual damages,

statutory damages, attorneys’ fees and costs, and all other relief allowed under Michigan law.

                                      COUNT XVII
                                           Fraud
                          (On behalf of Plaintiffs and the Classes)

       352.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs

as though fully set forth herein.

       353.    Musk engaged in the misconduct described above, which constituted material

misrepresentations and omissions of fact.

       354.    Musk’s misconduct was and continues to be fraudulent because it has the effect

of deceiving consumers into believing that the vehicles have a much greater vehicle range than

they do.

       355.    Plaintiffs and the members of the nationwide class considered the Tesla

vehicles’ driving range to be an important factor when purchasing their Tesla vehicles. The

vehicle’s advertised range is material to the average, reasonable consumer.

       356.    Plaintiffs and the members of the nationwide class were actually misled and

deceived and were induced by Musk to purchase the vehicles. Had Musk truthfully stated the

vehicle’s range, Plaintiffs the members of the nationwide class would have either not

purchased the vehicles, or else would have paid substantially less for them.



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       357.    As a result of Musk’s conduct, Plaintiffs and the members of the nationwide

class have been damaged in an amount to be determined at trial.

                                      COUNT XVIII
                                    Unjust Enrichment
                          (On behalf of Plaintiffs and the Classes)

       358.    Plaintiffs incorporate by reference all allegations of the preceding paragraphs

as though fully set forth herein.

       359.    Plaintiffs and the members of the nationwide class conferred a benefit on Musk

by purchasing their vehicles.

       360.    Musk had knowledge that this benefit was conferred upon him.

       361.    Because of Musk’s wrongful acts and misrepresentations and omissions

described above, Plaintiffs and the nationwide class members paid a higher price for their

vehicles than the vehicles’ true value and Musk obtained money which rightfully belongs to

Plaintiffs and the members of the nationwide class.

       362.    Musk derived benefits from those Plaintiffs and the nationwide class members’

vehicle purchases.

       363.    Musk has been unjustly enriched at the expense of Plaintiffs and the members

of the nationwide class, and his retention of this benefit under the circumstances would be

inequitable.

       364.    Plaintiffs seek an order requiring Musk to make restitution to Plaintiffs and the

members of the nationwide class.




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                          VIII. PRAYER FOR RELIEF

WHEREFORE, Claimants respectfully requests that the Court:

       a.      Determine that the claims alleged herein may be maintained as a class

               action under Federal Rule of Civil Procedure 23, and issue an order

               certifying the class defined above;

       b.      Appoint Plaintiffs as the representative of the Classes and their counsel

               as Class counsel;

       c.      Award all actual, general, special, incidental, statutory, punitive

               damages, and attorney’s fees, to which Plaintiffs and the Class

               members are entitled;

       d.      Award injunctive relief;

       e.      Award pre-judgment and post-judgment interest on such monetary

               relief; and

       f.      Grant any other relief that the Court deems appropriate.

                    IX.      DEMAND FOR JURY TRIAL

Plaintiffs demands a jury trial on all issues so triable.

Respectfully submitted this 26th day of August 2024.

                                      /s/ Ryan D. Watstein
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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 26th day of August 2024, I caused a true and correct copy

of the foregoing to be electronically filed with the Clerk of Court using the CM/ECF system,

which will send notification of such filing to all counsel of record.



                                            /s/ Ryan D. Watstein
                                            Ryan D. Watstein




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